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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 BERKLEY INSURANCE CO., et al.,

               Plaintiffs,

        v.                                    Case No. 1:13-cv-1053 (RCL)

 FEDERAL HOUSING FINANCE
 AGENCY, et al.,

               Defendants.


 In re Fannie Mae / Freddie Mac Senior
 Preferred Stock Purchase Agreement Class
 Action Litigations

 __________________                           Case No. 1:13-mc-01288 (RCL)

 This document relates to:
 ALL CASES


         DEFENDANTS’ MOTION FOR JUDGMENT AS A MATTER OF LAW

       Pursuant to Federal Rule of Civil Procedure 50(b), Defendants respectfully move for

judgment as a matter of law. The bases for this motion are set forth in the accompanying

memorandum in support.

 Dated: April 17, 2024                    Respectfully submitted,

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                            UNITED STATES DISTRICT COURT
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BERKLEY INSURANCE CO., et al.,

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In re Fannie Mae / Freddie Mac Senior
Preferred Stock Purchase Agreement Class
Action Litigations

__________________                         Case No. 1:13-mc-01288 (RCL)

This document relates to:
ALL CASES


                 DEFENDANTS’ MEMORANDUM IN SUPPORT OF
                 MOTION FOR JUDGMENT AS A MATTER OF LAW
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                                         INTRODUCTION

        This case is one of a series of lawsuits brought by Plaintiffs and others challenging steps

the Federal Housing Finance Agency (“FHFA”), in its special role as Conservator, successfully

took to protect the public by ensuring the viability of Fannie Mae and Freddie Mac (the

“Enterprises”) and, by extension, the U.S. housing market. In the bleak, uncertain days of the

Great Recession and near-collapse of the national housing market, Congress, through the

Housing and Economic Recovery Act of 2008 (“HERA”), established FHFA and authorized it to

take any action that FHFA, as Conservator, determines is in the “best interests” of the

Enterprises or, importantly, the public. 12 U.S.C. § 4617(b)(2)(J). As the Supreme Court has

explained, “the FHFA’s powers under [HERA] differ critically from those of most conservators

and receivers,” in that “when the FHFA acts as a conservator, it may aim to rehabilitate the

regulated entity in a way that, while not in the best interests of the regulated entity, is beneficial

to the Agency and, by extension, the public it serves.” Collins v. Yellen, 141 S. Ct. 1761, 1776,

1785 (2021).

        Among the actions FHFA reasonably determined to be in the best interests of the public

was the Third Amendment to the Senior Preferred Stock Purchase Agreements (the “PSPAs”)—

the 2008 agreements with the Treasury Department under which the Conservator, acting on

behalf of the Enterprises, authorized Treasury to infuse the Enterprises with capital by

purchasing their securities so that they could continue operating. The Third Amendment to the

PSPAs included the so-called “Net Worth Sweep” that is the focus of this lawsuit. The Net

Worth Sweep “eliminated th[e] risk” that the Enterprises “would have consumed some or all of

the [Treasury Department’s] remaining capital commitment in order to pay their dividend

obligations” under the PSPAs to Treasury, thus “ensur[ing] that all of Treasury’s capital was

available to backstop the companies’ operations during difficult quarters.” Id. at 1777.


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       Nevertheless, the Enterprises’ private shareholders sued, alleging that FHFA’s agreement

to the Net Worth Sweep was arbitrary and unreasonable, thus breaching the implied covenant of

good faith and fair dealing. In Collins, the Supreme Court held that HERA “authorized the

Agency” to agree to the Net Worth Sweep because “the FHFA could have reasonably concluded

that it was in the best interests of members of the public who rely on a stable secondary mortgage

market.” Id. at 1777. And the Federal Circuit recently affirmed the dismissal of Plaintiffs’

constitutional and contract claims against the United States, observing that Collins found “that

the FHFA lawfully adopted the net worth sweep.” Fairholme Funds, Inc. v. United States, 26

F.4th 1274, 1297 (Fed. Cir. 2022). Respectfully, and as explained in detail below, this case

likewise should have been dismissed as a matter of law before it was presented to a jury.

       Defendants are entitled to judgment as a matter of law. Plaintiffs’ sole claim is that, in

agreeing to the Net Worth Sweep and thereby breaching the implied covenant of good faith and

fair dealing, Defendants purportedly harmed Enterprise shareholders by causing a $1.6-billion

decline in the relevant shares’ market valuation on August 17, 2012, the day that the Third

Amendment was announced. E.g., Trial II Tr. 409:11-15, 465:14-18 (attached as Exhibit A).

Plaintiffs’ claim fails as a matter of law for multiple independent reasons.

       First, the implied covenant does not even apply here. “An essential predicate for the

application of the implied covenant is the existence of a ‘gap’ in the relevant agreement.” DG

BF, LLC v. Ray, 2021 WL 776742, at *15 (Del. Ch. Mar. 1, 2021). Key here, “[w]hen a contract

confers discretion on one party,” “the implied covenant does not come into play when ‘the scope

of discretion is specified,’ because in that instance, ‘there is no gap.’” Id. (citations omitted); see

Old Dominion Elec. Coop. v. Ragnar Benson, Inc., 2006 WL 2252514, at *9 (E.D. Va. Aug. 4,

2006) (similar under Virginia law). Thus, if a contract specifies that a party must exercise its




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discretion “reasonably” or in “good faith,” or in the “best interest” of an entity, or otherwise

specifies the scope of the party’s contractual discretion in any way, then the implied covenant

simply does not apply. Policemen’s Annuity & Benefit Fund of Chi. v. DV Realty Advisors LLC,

2012 WL 3548206, at *12 (Del. Ch. Aug. 16, 2012) (holding that implied covenant did not apply

because contract specified discretion must be exercised in “good faith” and in “best interest” of

company). Here, Plaintiffs’ shareholder contracts with the Enterprises incorporate HERA’s

provision stating that FHFA may take actions it determines are in the “best interests” of the

public, thereby specifying the scope of FHFA’s contractual discretion. The shareholder contracts

thus contain no “gap” for the implied covenant to fill, and Plaintiffs’ claim fails as a matter of

law.

       Second, the Supreme Court’s decision in Collins squarely forecloses Plaintiffs’ sole claim

regarding the Net Worth Sweep. To begin with, Collins made clear that the Conservator’s

“business decisions are protected from judicial review” under 12 U.S.C. § 4617(f). 141 S. Ct. at

1785. Moreover, Collins rejected the central element that Plaintiffs had to prove to establish a

breach of the implied covenant—namely, that FHFA acted “arbitrarily or unreasonably” by

agreeing to the Third Amendment. Collins held that the Third Amendment was within FHFA’s

expansive statutory authority to act in the “best interests” of the public because FHFA

“reasonably viewed [the Third Amendment] as more certain to ensure market stability” than the

alternative approaches Plaintiffs favor. Id. at 1777 (emphasis added). In the Supreme Court’s

words, “[w]hether or not this new arrangement was in the best interests of the [Enterprises] or

their shareholders, the FHFA could have reasonably concluded that it was in the best interests of

members of the public who rely on a stable secondary mortgage market.” Id. (emphasis added).

As a matter of law, shareholders’ reasonable expectations necessarily incorporated HERA’s




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broad grant of authority to act in what FHFA determines are the “best interests” of the public,

and the Supreme Court’s unanimous holding that FHFA acted reasonably in agreeing to the

Third Amendment forecloses Plaintiffs’ claim that FHFA acted unreasonably.

       Third, Plaintiffs’ implied covenant claim alleges a non-cognizable anticipatory breach of

contract. This Court previously held that Plaintiffs’ breach of contract claims regarding the

Third Amendment’s effect on liquidation preferences “sound in anticipatory breach.” Fairholme

Funds, Inc. v. Fed. Hous. Fin. Agency (“MTD Ruling II”), 2018 WL 4680197, at *6 (D.D.C.

Sept. 28, 2018). And as the Court explained, Plaintiffs’ liquidation preference rights cannot be

violated unless and until there is a liquidation, and Plaintiffs may not treat a future breach of

those rights upon liquidation as a present breach. Id. Plaintiffs’ implied covenant claim is no

different. Plaintiffs’ alleged injury is based on a loss of potential future dividends due to the

Third Amendment, and they value that injury based on the decline in Enterprise share prices on

August 17, 2012. But Plaintiffs may not treat a failure to pay potential future dividends as a

present breach. Indeed, as this Court has noted, multiple legal and practical obstacles wholly

separate from the Net Worth Sweep (such as the PSPAs’ restriction on the Enterprises’ ability to

pay down Treasury’s liquidation preference) still stand between Plaintiffs and any future

dividends. Fairholme Funds, Inc. v. Fed. Hous. Fin. Agency (“MSJ Ruling”), 2022 WL

4745970, at *9 (D.D.C. Oct. 3, 2022).

       Finally, Plaintiffs failed at trial to prove with reasonable certainty that the one-day

decline in Enterprise share prices on August 17, 2012, harmed or damaged Plaintiffs.

Specifically, Plaintiffs failed to introduce evidence (1) showing that current shareholders are

worse off today than they would be absent the Third Amendment; (2) accounting for the

substantial share-price increases that occurred shortly after the Third Amendment; or




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(3) showing that the one-day share-price decline on August 17, 2012, was attributable solely to

the Net Worth Sweep as opposed to other terms of the Third Amendment. Absent evidence on

all of these issues, the jury had no basis to find with reasonable certainty that current

shareholders were harmed by the Third Amendment.

       Alternatively, putting aside FHFA’s unique statutory powers as Conservator,

Defendants are entitled to judgment as a matter of law on claims for shares purchased after

the Third Amendment because Plaintiffs lack standing to assert them. With respect to shares

that were purchased after the Third Amendment and the ensuing one-day share-price drop,

Plaintiffs lack standing because the Third Amendment caused them no harm. If anything, post-

Third Amendment purchasers benefitted because they bought shares at prices that were lower as

a result of the August 17, 2012, price drop. At the very least, those purchasers bought the shares

with any impact caused by the Third Amendment already included in the share price.

       Indeed, Plaintiffs do not assert that post-Third Amendment purchasers were harmed by

the share-price drop. Instead, they assert that the sellers were harmed, and that the sellers’

implied covenant claims were automatically assigned to post-Third Amendment purchasers

solely by virtue of the sale of the shares. But this theory that the legal claim “travels with the

share” conflicts with prevailing law that legal claims related to a security “are not automatically

assigned to a subsequent purchaser upon the sale of the underlying security.” Bluebird Partners,

L.P. v. First Fid. Bank, N.A. N.J., 85 F.3d 970, 974 (2d Cir. 1996); accord DNAML Pty, Ltd. v.

Apple Inc., 2015 WL 9077075, at *4 (S.D.N.Y. Dec. 16, 2015) (same under common law);

Cheatham I.R.A. v. Huntington Nat’l Bank, 137 N.E.3d 45, 52 (Ohio 2019) (same for breach of

contract claims). It also conflicts with Plaintiffs’ position that a shareholder’s decision to opt out

of the classes here does not travel with the share. And it would be anomalous to hold that those




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who held stock at the time of the Third Amendment and sold shares at a loss cannot sue, but

those who purchased at prices already reflecting the Third Amendment’s impact can sue.

Because the sellers’ claims did not automatically travel with the shares, Plaintiffs lack standing

with respect to the shares purchased after the Third Amendment. The Court therefore lacks

jurisdiction to hear claims associated with those shares, and such claims must be dismissed.

                                        BACKGROUND

       This Court and the D.C. Circuit have described the background of this case in prior

opinions.1 Set forth below are the key facts relevant to this motion.

       A.      The Enterprises and Their Contracts with Private Shareholders

       The Enterprises are government-sponsored financial institutions whose public mission is

to provide liquidity and stability to the nation’s housing finance market. “Fannie Mae originated

as a government-owned entity designed to ‘provide stability in the secondary market for

residential mortgages,’ to ‘increas[e] the liquidity of mortgage investments,’ and to ‘promote

access to mortgage credit throughout the Nation.’” Perry II, 864 F.3d at 599 (quoting 12 U.S.C.

§ 1716). Congress created Freddie Mac to “increase the availability of mortgage credit for the

financing of urgently needed housing.” Id. (quoting Pub. L. No. 91-351, 84 Stat. 450 (1970)).

The Enterprises are “vital for the Nation’s economic health,” and their collapse would “imperil”



1
  E.g., Perry Cap. LLC v. Lew (“Perry I”), 70 F. Supp. 3d 208, 214-19 (D.D.C. 2014) (original
order dismissing action); Perry Cap. LLC v. Mnuchin (“Perry II”), 864 F.3d 591, 598-603 (D.C.
Cir. 2017) (decision reversing dismissal in part); MTD Ruling II, 2018 WL 4680197, at *1-4
(order on motion to dismiss following remand); In re Fannie Mae/Freddie Mac Senior Preferred
Stock Purchase Agreement Class Action Litigs. (“Class Cert. Ruling”), 2021 WL 5799379, at *1-
4 (D.D.C. Dec. 7, 2021) (order on class certification); MSJ Ruling, 2022 WL 4745970, at *1-3
(order on summary judgment); Fairholme Funds, Inc. v. Fed. Hous. Fin. Agency (“SJ
Reconsideration Ruling”), 2022 WL 11110548, at *1 (D.D.C. Oct. 19, 2022) (order on Plaintiffs’
motion to reconsider summary judgment); Berkley Ins. Co. v. Fed. Hous. Fin. Agency, 2023 WL
3790739, at *1-2 (D.D.C. June 2, 2023) (order denying Plaintiffs’ motion to allow supplemental
expert discovery).


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the national economy. Id. at 598-99; see Trial II Tr. 1927:8-17, 2118:10-2121:11, 2274:4-21

(Ex. A).

       The Enterprises have long had private shareholders, who through their purchase of shares

enter into contracts with the Enterprises. Those contracts consist of “not only documents such as

the stock certificate, certificate of designations, the corporate charter, and bylaws, but also the

corporate law under which the corporation is formed and regulated.” MTD Ruling II, 2018 WL

4680197, at *8. By law, shareholders agree to the terms of the shareholder contract, including as

those terms may change over time, simply by purchasing shares. Id. at *9; see Final Jury

Instructions at 8 (Class ECF No. 383, Berkley ECF No. 393).2

       The Enterprises’ private shareholders have no legal entitlement to dividends. The

shareholder contracts “do not require the Board of either Enterprise to declare dividends.” Joint

Statement of Undisputed Facts (“JX-1”) ¶ 7 (Class ECF No. 335-1, Berkley ECF No. 345-1).

Rather, the contracts “provide for dividends ‘if declared by the Board of Directors, in its sole

discretion.’” Perry II, 864 F.3d at 631 (citation omitted); see, e.g., Trial II Tr. 2942:2-7 (Ex. A)

(referencing DX-49).

       B.      HERA, the Conservatorships, and the PSPAs

       “Fannie Mae and Freddie Mac became major players in the United States’ housing

market. Indeed, in the lead up to 2008, Fannie Mae’s and Freddie Mac’s mortgage portfolios

had a combined value of $5 trillion and accounted for nearly half of the United States mortgage

market. But in 2008, the United States economy fell into a severe recession, in large part due to

a sharp decline in the national housing market. Fannie Mae and Freddie Mac suffered a

precipitous drop in the value of their mortgage portfolios, pushing the Companies to the brink of


2
 “Class ECF No.” refers to Case No. 1:13-mc-1288-RCL, and “Berkley ECF No.” refers to Case
No. 1:13-cv-1053-RCL.


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default.” Perry II, 864 F.3d at 599. The companies “lost more that year than they had earned in

the previous 37 years combined. Though they remained solvent, many feared the companies

would eventually default and throw the housing market into a tailspin.” Collins, 141 S. Ct. at

1771 (citation omitted). Indeed, Congress was “[c]oncerned that a default by Fannie and Freddie

would imperil the already fragile national economy.” Perry II, 864 F.3d at 599.

       In response, in July 2008, Congress enacted HERA, which established FHFA as the

Enterprises’ safety and soundness regulator and empowered FHFA’s Director to place each

Enterprise into conservatorship or receivership. JX-1 ¶¶ 8-9. HERA also authorized the U.S.

Department of the Treasury to purchase Enterprise securities and thereby infuse them with

capital to ensure their continued liquidity and stability. Perry II, 864 F.3d at 600; see Trial II Tr.

2133:9-22 (Ex. A).

       On September 6, 2008, amidst the Enterprises’ historic losses, FHFA’s Director placed

the Enterprises into conservatorships. JX-1 ¶ 11; see Perry II, 864 F.3d at 600-01. HERA

“invests FHFA as conservator with broad authority and discretion over the operation of Fannie

Mae and Freddie Mac. For example, upon appointment as conservator, FHFA ‘shall . . .

immediately succeed to . . . all rights, titles, powers, and privileges of the regulated entity, and of

any stockholder, officer, or director of such regulated entity with respect to the regulated entity

and the assets of the regulated entity.’” Perry II, 864 F.3d at 600 (quoting 12 U.S.C.

§ 4617(b)(2)(A)). “Consistent with Congress’s mandate that FHFA’s Director protect the ‘public

interest,’ 12 U.S.C. § 4513(a)(1)(B)(v), [HERA] invested FHFA as conservator with the

authority to exercise its statutory authority . . . in the manner that ‘the Agency [FHFA]

determines is in the best interests of the regulated entity or the Agency.’” Id. (quoting 12 U.S.C.




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§ 4617(b)(2)(J)). HERA’s “best interests” provision is incorporated into Plaintiffs’ shareholder

contracts. See MTD Ruling II, 2018 WL 4680197, at *9.

       At the outset of the conservatorships, FHFA, as Conservator, announced that “the

common stock and preferred stock dividends will be eliminated.” JX-1 ¶ 13. The next day, the

Conservator entered into PSPAs with Treasury on behalf of each Enterprise. Under the PSPAs,

Treasury committed to make up to $100 billion available to each Enterprise (the “Treasury

Commitment” or “Commitment”) to ensure that the Enterprises maintained a positive net worth.

Id. ¶ 16. “In exchange for that extraordinary capital infusion, Treasury received one million

senior preferred shares in each company. Those shares entitled Treasury to: (i) a $1 billion

senior liquidation preference—a priority right above all other stockholders, whether preferred or

otherwise, to receive distributions from assets if the entities were dissolved; (ii) a dollar-for-

dollar increase in that liquidation preference each time Fannie and Freddie drew upon Treasury’s

funding commitment; (iii) quarterly dividends that the Companies could either pay at a rate of

10% of Treasury’s liquidation preference or a commitment to increase the liquidation preference

by 12%; (iv) warrants allowing Treasury to purchase up to 79.9% of Fannie’s and Freddie’s

common stock; and (v) the possibility of periodic commitment fees over and above any

dividends.” Perry II, 864 F.3d at 601; see JX-1 ¶ 20. The PSPAs also “barred the Enterprises

from making any other distributions to Enterprise stockholders—including issuing dividends to

shareholders—without Treasury’s consent.” JX-1 ¶ 24; see DX-85 § 5.1 (Fannie Mae) (attached

as Exhibit B); DX-86 § 5.1 (Freddie Mac) (attached as Exhibit C).

       In 2009, as the Enterprises’ losses deepened and their draws on the Treasury

Commitment continued to grow, the PSPAs were amended twice to increase the Commitment

and ensure the Enterprises’ continued access to capital to prevent their collapse. The first




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amendment doubled the Commitment to $200 billion for each Enterprise. JX-1 ¶ 25. When

even that seemed potentially insufficient, the second amendment increased the Commitment to

an unlimited amount through December 31, 2012, when it would again become capped. Id. ¶ 26.

       Even after these two amendments to the PSPAs, the Enterprises’ financial struggles

persisted. “Through the first quarter of 2012, Fannie and Freddie repeatedly struggled to

generate enough capital to pay the 10% dividend they owed to Treasury . . . . FHFA and

Treasury stated publicly that they worried about perpetuating the ‘circular practice of the

Treasury advancing funds to [the Enterprises] simply to pay dividends back to Treasury’ . . . .”

Perry II, 864 F.3d at 601 (quoting August 17, 2012, Treasury press release). Through the second

quarter of 2012, Fannie Mae had drawn $116.1 billion on the Treasury Commitment, and

Freddie Mac had drawn $71.3 billion. JX-1 ¶¶ 33-34.

       C.      The Third Amendment to the PSPAs

       On August 17, 2012, the Conservator and Treasury amended the PSPAs for a third time.

“The Third Amendment replaced the fixed 10% dividend with a quarterly variable dividend

equal to the positive net worth, if any, of Fannie Mae and Freddie Mac, exceeding a

predetermined capital reserve.” JX-1 ¶ 36. Under this “Net Worth Sweep,” “[i]f the net worth of

Fannie Mae or Freddie Mac at the end of a quarter exceeded the capital reserve, the amendment

required the company to pay all of the surplus to Treasury. But if a company’s net worth at the

end of a quarter did not exceed the reserve or if it lost money during a quarter, the amendment

did not require the company to pay anything.” Collins, 141 S. Ct. at 1774 (emphasis omitted).

FHFA agreed to the Net Worth Sweep to place the Enterprises on sounder financial footing. Id.

at 1774, 1777. The companies had been drawing “sizeable amounts from Treasury’s capital

commitment,” but “because of the fixed-rate dividend formula, the more money they drew, the

larger their dividend obligations became.” Id. at 1773. The Net Worth Sweep ended “the


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circular practice of drawing funds from Treasury’s capital commitment just to hand those funds

back as a quarterly dividend.” Id. It thus eliminated the risk that the Enterprises would

“consume[] some or all of the remaining capital commitment in order to pay their dividend

obligations, which were themselves increasing in size every time the companies made a draw.”

Id. at 1777.

       In addition, the Third Amendment required the Enterprises to shrink their retained

mortgage portfolios at an accelerated pace to “reduce risk exposure.” DX-539 (attached as

Exhibit D). It also “suspended the companies’ obligations to pay periodic commitment fees” to

Treasury. Collins, 141 S. Ct. at 1774.3

       D.      Procedural History

               1.     Motions to Dismiss

       Initially, “[t]his matter [was] brought before the Court by both a class action lawsuit and

[multiple] individual lawsuits.” Perry I, 70 F. Supp. 3d at 214. The Class Plaintiffs “brought

claims of breach of contract, regarding allegedly promised dividends and liquidation preferences,

breach of the implied covenant of good faith and fair dealing, and an unconstitutional taking, as

well as derivative claims of breach of fiduciary duty.” Id. at 218. The Berkley Plaintiffs brought

claims under the Administrative Procedure Act (“APA”), “as well as claims of breach of

contract, regarding allegedly promised dividends and liquidation preferences, and breach of the

implied covenant of good faith and fair dealing,” plus “an additional claim of breach of fiduciary

duty against FHFA.” Id.




3
  Later, FHFA and Treasury adopted a fourth amendment to the PSPAs, which “eliminated the
variable dividend formula that had [allegedly] caused the shareholders’ injury” under the Third
Amendment and replaced it with increases to the liquidation preference that allowed the
Enterprises to build capital. Collins, 141 S. Ct. at 1780.


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       This Court dismissed the action in its entirety, concluding that “the plaintiffs’ grievance

is really with Congress itself. It was Congress, after all, that parted the legal seas so that FHFA

and Treasury could effectively do whatever they thought was needed to stabilize and, if

necessary, liquidate, the GSEs.” Id. at 246. The Court held that “HERA’s unambiguous

statutory provisions, coupled with the unequivocal language of the plaintiffs’ original GSE stock

certificates, compels the dismissal of all of the plaintiffs’ claims.” Id.

       The D.C. Circuit affirmed the dismissal in most respects. Perry II, 864 F.3d at 598-99. It

held that Plaintiffs “have no enforceable right to dividends because the [stock] certificates accord

the Companies complete discretion to declare or withhold dividends.” Id. at 629. But the court

of appeals remanded for further proceedings on other potential claims, including claims for

breach of contract with respect to liquidation preferences and breach of the implied covenant of

good faith and fair dealing with respect to liquidation preferences and dividends. Id. at 633-34.

The court explained that “one generally cannot base a claim for breach of the implied covenant

on conduct authorized by the terms of the agreement,” and that the stock certificates granted the

Enterprises’ Boards of Directors “sole discretion” to declare dividends. Id. at 631. But, the court

added, if a contract grants unspecified discretion, “[a] party to a contract providing for such

discretion violates the implied covenant if it ‘act[s] arbitrarily or unreasonably’” in violation of

the parties’ “reasonable expectations.” Id.

       On remand, Plaintiffs amended their complaint to add additional claims. “[A]ll plaintiffs

[brought] claims for breach of contract, breach of the implied covenant of good faith and fair

dealing, breach of fiduciary duty, and violations of Delaware and Virginia statutory law

governing dividends. Additionally, the Class Plaintiffs [brought] derivative claims against

FHFA for breach of fiduciary duties. And the individual plaintiffs [brought] APA claims.”




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MTD Ruling II, 2018 WL 4680197, at *4 (footnote and citations omitted). In 2018, this Court

dismissed all claims except the implied covenant claim. Id. at *7. Because the Enterprises were

not being liquidated, the Court held that “Plaintiffs’ claims for breach of contract with respect to

liquidation preferences sound in anticipatory breach.” Id. at *6. But “Plaintiffs’ contract with

the GSEs with respect to liquidation preferences is a unilateral contract,” and “the doctrine

traditionally does not apply to unilateral contracts, especially when the only remaining

performance is the payment of money.” Id. at *5-6. The Court also held that Plaintiffs stated a

viable claim for breach of the implied covenant with respect to liquidation preferences and

dividends, but the Court did not address how the anticipatory breach doctrine applied to the

implied covenant claim. See id. at *7-14.4

       Defendants moved for reconsideration, arguing that the Court’s rationale for dismissing

the breach of contract claim regarding liquidation preferences under the anticipatory breach

doctrine applied equally to the implied covenant claim regarding liquidation preferences and

dividends. The Court denied the motion, holding that “[t]he limitation on anticipatory breach




4
  In addressing a dispute about the implied covenant claim, the Court held for the first time that
Plaintiffs’ claims “related to dividends and liquidation preferences traveled with the shares to
subsequent purchasers.” MTD Ruling II, 2018 WL 4680197, at *8. The Court reiterated this
view that the claim here “traveled” with the shares in multiple subsequent orders, even after
Plaintiffs’ theory of harm fundamentally changed from seeking lost future dividends to seeking
compensation for the share-price drop. See Class Cert. Ruling, 2021 WL 5799379, at *8
(“[B]ecause the ‘[r]ights associated with dividends and liquidation preferences inhere in the
security,’ the Court need not further divide the classes for those who purchased their shares after
the Third Amendment.” (quoting MTD Ruling II, 2018 WL 4680197, at *8)); id. (“Those
stockholders that held stock on August 12 [sic], 2012, but sold shares thereafter are no longer
members of the class and their claims traveled to the purchasers of their shares.”); Fairholme
Funds, Inc. v. Fed. Hous. Fin. Agency, 636 F. Supp. 3d 144, 158 (D.D.C. 2022) (“Because ‘the
contractual rights [plaintiffs] seek to enforce . . . inhere in the security, traveling to each
subsequent acquirer,’ the time that any plaintiff purchased GSE shares is irrelevant . . . .”
(quoting MTD Ruling II, 2018 WL 4680197, at *8)).


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does not apply to the alleged breaches of the implied covenant because those breaches are not

anticipatory.” Order Denying Reconsideration at 4 (Class ECF No. 104, Berkley ECF No. 99).

               2.      The Supreme Court’s Intervening Decision in Collins

       Plaintiffs and other private shareholders also brought claims against the federal

government challenging the Net Worth Sweep in other courts, which uniformly dismissed them.

Most relevant is Collins v. Yellen, 141 S. Ct. 1761 (2021), an action by shareholders challenging

the Net Worth Sweep under the U.S. Constitution and the APA. Like Plaintiffs here, the Collins

shareholders “claim[ed] that the FHFA adopted the third amendment at a time when the

companies were on the precipice of a financial uptick and that they would soon have been in a

position not only to pay cash dividends, but also to build up capital buffers to absorb future

losses.” Id. at 1777. The shareholders also “contend[ed] that the FHFA could have protected

Treasury’s capital commitment by ordering the companies to pay the dividends in kind rather

than in cash.” Id.

       The Supreme Court unanimously rejected those arguments. In dismissing the APA

claim, the Court held that FHFA, in its capacity as Conservator, acted within its statutory powers

and functions under HERA’s “best interests” provision because FHFA “could have reasonably

concluded that [the Third Amendment] was in the best interests of members of the public who

rely on a stable secondary mortgage market.” Id. “[T]here was a realistic possibility that the

[Enterprises] would have consumed some or all of the remaining capital commitment in order to

pay their dividend obligations, which were themselves increasing in size every time the

[Enterprises] made a draw. The third amendment eliminated this risk . . . .” Id. The Court thus

held that FHFA acted reasonably to “ensure[] that all of Treasury’s capital was available to

backstop the [Enterprises]’ operations during difficult quarters.” Id.; see also Fairholme Funds,

Inc. v. United States, 26 F.4th 1274, 1297 (Fed. Cir. 2022) (dismissing shareholders’ suit against


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the United States alleging that the Net Worth Sweep violated their constitutional and contractual

rights, noting that Collins held “the FHFA lawfully adopted the net worth sweep”).

               3.      Class Certification and Summary Judgment

       Later in 2021, Plaintiffs filed an unopposed motion for class certification, and this Court

certified three classes of “current holders” of certain Enterprise shares (including successors).

See Class Certification Order (Class ECF No. 139). These “current holders” include those who

have held their shares continuously since before the Third Amendment and those who purchased

their shares after the Third Amendment. See id. In certifying the classes, the Court noted that

“[t]he complained-of injuries” that were “common to the class members” consisted of alleged

“lost dividends and liquidation preference.” Class Cert. Ruling, 2021 WL 5799379, at *6.

       In September 2022, the Court granted in part and denied in part Defendants’ motion for

summary judgment. MSJ Ruling, 2022 WL 4745970, at *1. The Court rejected Defendants’

arguments that there was no “gap” in the shareholder contracts for the implied covenant of good

faith and fair dealing to fill and that the Supreme Court’s decision in Collins foreclosed

Plaintiffs’ implied covenant claim as a matter of law. Id. at *5-7. But the Court granted partial

summary judgment for Defendants, rejecting as impermissibly speculative Plaintiffs’ attempt to

establish that they would have received additional dividends in the future absent the Third

Amendment. Id. at *9-10. The Court observed that “plaintiffs appear to offer two different

theories of harm . . . . First, and primarily, they argue that the Third Amendment deprived them

of future dividends that they otherwise would have received,” which the Court called “the lost-

dividends theory.” Id. at *8. Second, “and in the alternative,” Plaintiffs advanced “the lost-value

theory”—“that by eliminating any possibility of future dividends, the Third Amendment at least

caused their shares to decline significantly in value.” Id. The Court held that “defendants are




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entitled to summary judgment on the lost-dividends theory but that a genuine dispute of material

fact precludes summary judgment on the lost-value theory.” Id.

        Plaintiffs sought damages under this lost-value theory based on the one-day, $1.6 billion

decline in the market value of the relevant Enterprise shares on August 17, 2012, the day the

Third Amendment was announced. In calculating that lost value, Plaintiffs’ damages expert, Dr.

Mason, relied on an event study conducted by Defendants’ expert, Dr. Attari, which

demonstrated that the prices of the relevant Enterprise shares declined that day, resulting in a loss

of market value totaling $1.6 billion. The event study also showed that the Enterprises’ share

prices increased over the subsequent few months. See PX-375 at 3-4 (attached as Exhibit E).

                4.      The Trials

        The Court presided over two trials. The first occurred in October and November of 2022,

and ended in a mistrial. The second took place in July and August of 2023.

        At the close of Plaintiffs’ case in the second trial, Defendants orally moved for judgment

as a matter of law under Rule 50(a) on the grounds that (1) there is no “gap” in the shareholder

contracts for the implied covenant to fill; (2) Collins forecloses Plaintiffs’ implied covenant

claim as a matter of law; (3) Plaintiffs failed to prove harm or damages with reasonable certainty;

and (4) post-Third Amendment purchasers were not harmed by the share-price drop and thus

lack standing. Trial II Tr. 1500:4-1512:14 (Ex. A); see also Defs.’ Mot. for a Judgment As a

Matter of Law (Class ECF No. 248, Berkley ECF No. 239) (written motion at first trial); Trial I

Tr. 1830:2, 2449:3-2450:6 (oral motion and ruling at first trial) (attached as Exhibit F). The

Court denied the motion. See Aug. 1, 2023, Minute Entry; see also Oct. 26, 2022, Minute Entry

(denying motion at first trial).

        On August 14, 2023, the jury returned a verdict for Plaintiffs, awarding $299.4 million to

Fannie Mae junior preferred shareholders, $281.8 million to Freddie Mac junior preferred


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shareholders, and $31.2 million to Freddie Mac common shareholders. See Verdict Form at 1

(Class ECF No. 392, Berkley ECF No. 402). The jury, tasked with deciding prejudgment

interest under Virginia law (which applies to Freddie Mac), denied prejudgment interest to

Freddie Mac shareholders. See id. at 2. The Court, tasked with deciding prejudgment interest

under Delaware law (which applies to Fannie Mae), awarded prejudgment interest to Fannie Mae

junior preferred shareholders at a fixed rate of 5.13% simple interest. Order at 1 (Class ECF No.

402, Berkley ECF No. 413).

       Thereafter, Plaintiffs submitted their proposed plan of allocation, and Defendants

submitted their objections. See Class ECF Nos. 415, 417, 418, Berkley ECF Nos. 423, 424, 425.

On March 30, 2024, the Court entered judgment in the amount of (1) $299,400,000 in favor of

the Fannie Mae Preferred Class, plus $199,650,000 in prejudgment interest; (2) $281,800,000 in

favor of the Freddie Mac Preferred Class; and (3) $31,200,000 in favor of the Freddie Mac

Common Class, for a total judgment in the amount of $812,050,000. Final Judgment at 3 (Class

ECF No. 421, Berkley ECF No. 428). The Court also adopted a plan of allocation, see Order

Governing Plan of Allocation (Class ECF No. 421-1, Berkley ECF No. 428-1), which “reduce[d]

the damages to be distributed by the amount of the jury’s damages award attributable to shares

held by the few opt-outs other than the Berkley Plaintiffs” and “reserve[d] decision on the

disposition of unclaimed funds.” Memorandum and Order at 1-2 (Class ECF No. 420, Berkley

ECF No. 427).

                                      LEGAL STANDARD

       Under Federal Rule of Civil Procedure 50(b), a motion for judgment as a matter of law

must be granted “if, after viewing the evidence in the light most favorable to the non-moving

party and drawing all reasonable inferences, it is clear that a reasonable jury could only have




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found for the moving party.” Robinson v. Wash. Metro. Area Transit Auth., 774 F.3d 33, 37

(D.C. Cir. 2014) (Garland, C.J.) (citation omitted).

       The standard for a Rule 50 motion “mirrors” that for summary judgment under Federal

Rule of Civil Procedure 56, Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150

(2000), and is the same under Rule 50(b) as it is for a pre-verdict motion under Rule 50(a), Rice

v. District of Columbia, 818 F. Supp. 2d 47, 54 (D.D.C. 2011). As at summary judgment, on a

motion for judgment as a matter of law, the court must draw all reasonable inferences in favor of

the nonmoving party and may not make credibility determinations or weigh the evidence.

Reeves, 530 U.S. at 150. But the court must give credence to the “evidence supporting the

moving party that is uncontradicted and unimpeached, as least to the extent that the evidence

comes from disinterested witnesses.” Huthnance v. District of Columbia, 793 F. Supp. 2d 183,

197 (D.D.C. 2011) (Lamberth, J.) (quoting Reeves, 530 U.S. at 151). The evidence in support of

the verdict must “be more than merely colorable; it must [be] significantly probative.”

Richardson ex rel. Richardson v. Richardson-Merrell, Inc., 857 F.2d 823, 828-29 (D.C. Cir.

1988); see also Williams v. Johnson, 870 F. Supp. 2d 158, 162 (D.D.C. 2012). “[I]f the court

finds that the evidence was legally insufficient to sustain the verdict,” Ortiz v. Jordan, 562 U.S.

180, 189 (2011), then the court may “direct the entry of judgment as a matter of law” in favor of

the verdict loser or “order a new trial,” Fed. R. Civ. P. 50(b)(2), (b)(3). The central question “is

whether there was sufficient evidence upon which the jury could base a verdict in [the prevailing

party’s] favor.” Scott v. District of Columbia, 101 F.3d 748, 752 (D.C. Cir. 1996).




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                                           ARGUMENT

I.     DEFENDANTS ARE ENTITLED TO JUDGMENT AS A MATTER OF LAW AS
       TO ALL PLAINTIFFS

       Defendants are entitled to judgment as a matter of law for four independent reasons.

First, the shareholder contracts, by incorporating HERA’s “best interests” provision, already

specify the scope of FHFA’s contractual discretion and thus contain no “gap” for the implied

covenant to fill. Second, even if the implied covenant applied, the Supreme Court’s decision in

Collins forecloses Plaintiffs’ claim. Third, Plaintiffs’ claim that share prices fell because the

Third Amendment eliminated any possibility of future dividends is a claim for anticipatory

breach, which this Court has correctly recognized is not cognizable. Finally, Plaintiffs failed at

trial to prove harm or damages with reasonable certainty, as Delaware and Virginia law require.

       A.      The Shareholder Contracts Specify the Scope of FHFA’s Contractual
               Discretion and Thus Leave No “Gap” for the Implied Covenant to Fill

       Plaintiffs’ implied covenant claim fails as a matter of law because the implied covenant

does not apply here. An implied covenant claim exists under Delaware or Virginia law only

where the parties’ contract confers discretion without specifying its scope, thus leaving a “gap”

for the implied covenant to fill. Here, the shareholder contracts—by incorporating HERA’s

“best interests” provision—specify the scope of FHFA’s contractual discretion. Thus, the

shareholder contracts contain no “gap” for the implied covenant to fill, and Plaintiffs’ implied

covenant claim fails as a matter of law.

       “Under Delaware and Virginia law . . . an implied covenant of good faith and fair dealing

‘attaches to every contract.’” MSJ Ruling, 2022 WL 4745970, at *4 (citations omitted). As this

Court has explained, “an implied covenant claim . . . involves a ‘cautious enterprise’ whereby the

court ‘infer[s] contractual terms to handle developments or contractual gaps that the asserting

party pleads neither party anticipated.’” Id. (citations omitted). The implied covenant “should


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not be used to imply terms that modify or negate an unrestricted contractual right authorized by

an agreement.” Glaxo Grp. Ltd. v. DRIT LP, 248 A.3d 911, 920-21 (Del. 2021).

       Critically here, “[a]n essential predicate for the application of the implied covenant is the

existence of a ‘gap’ in the relevant agreement.” DG BF, LLC v. Ray, 2021 WL 776742, at *15

(Del. Ch. Mar. 1, 2021). Even “[w]hen a contract confers discretion on one party,” “the implied

covenant does not come into play when ‘the scope of discretion is specified,’ because in that

instance, ‘there is no gap.’” Id. (citations omitted). Contracts can define the scope of discretion

in a variety of ways, including by “identify[ing] factors that the decision-maker can consider” or

“provid[ing] a contractual standard for evaluating the decision.” Policemen’s Annuity & Benefit

Fund of Chi. v. DV Realty Advisors LLC, 2012 WL 3548206, at *12 (Del. Ch. Aug. 16, 2012)

(citation omitted), aff’d sub nom. DV Realty Advisors LLC v. Policemen’s Annuity & Benefit

Fund of Chi., 75 A.3d 101 (Del. 2013). “When a contract provision states how a grant of

discretion is to be exercised, there is no place for the implied covenant in that provision.” Id.

(citation omitted).5

       In Policemen’s Annuity & Benefit Fund of Chicago, for instance, a partnership’s limited

partners exercised their discretion under the partnership agreement to remove the managing

partner. 2012 WL 3548206, at *1. The managing partner challenged his removal under an

implied covenant theory, arguing that the Delaware court “should imply, in [the removal


5
  Virginia law is in accord. See Old Dominion Elec. Co-op., 2006 WL 2252514, at *9 (under
Virginia law, implied covenant applies only when contract confers “unfettered discretion of one
party,” and not when party’s discretion is “expressly ‘fettered’” by contract (quoting Riggs Nat’l
Bank of Wash., D.C. v. Linch, 36 F.3d 370, 373 (4th Cir. 1994))); ACA Fin. Guar. Corp. v. City
of Buena Vista, 917 F.3d 206, 216 (4th Cir. 2019) (affirming dismissal of claim that Virginia
municipality breached implied covenant by failing to appropriate funds to make rent payments
because contract’s express terms specified that payment was “subject to appropriation” and
parties cannot use implied covenant “to impose new terms to their deal that save them from the
consequences of the express terms of their agreements”).


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provision], a requirement that the Limited Partners must act reasonably if they exercise their

discretion to remove the Managing Partner.” Id. at *11. The court rejected that claim. Although

the partnership agreement’s removal provision “allows for discretion,” it “provides how

discretion is to be exercised—the Limited Partners must ‘in good faith determine that removal of

the Managing Partner is necessary for the best interest of the Limited Partnership.’” Id. at *12

(alterations omitted). The plaintiff thus could pursue an express breach of contract claim for an

alleged failure to act “in good faith,” but because the contract specified a standard for the

exercise of the limited partners’ discretion, there could be no implied covenant claim. Id. The

court explained that, “if the scope of discretion is specified, there is no gap in the contract as to

the scope of the discretion, and there is no reason for the Court to look to the implied covenant to

determine how discretion should be exercised.” Id.

       Similarly, in Shareholder Representative Services LLC v. Medidata Solutions, Inc., the

plaintiff-shareholder sold his shares in a company to the defendant for an amount “based on a

calculation flowing from revenues that Defendant generated from the sale and licensing of . . .

[a] software solution product.” 2020 WL 972618, at *1 (D. Del. Feb. 24, 2020). The plaintiff

asserted that the defendant breached the implied covenant by “fail[ing] to take commercially

reasonable steps to sell the [software] product and (relatedly) to maximize the Earnout Purchase

Price.” Id. The court dismissed the implied covenant claim because there was no gap in the

contracts at issue, as they specified that the defendant may operate his business “in any manner

in which [Defendant] deems appropriate in its sole and good faith discretion.” Id. at *5

(emphasis omitted). The contracts thus “expressly delineated the limits on Defendant’s

discretion,” mandating dismissal of the implied covenant claim. Id.; see also Heritage Handoff

Holdings, LLC v. Fontanella, 2018 WL 3580287, at *3 & n.1 (D. Del. July 25, 2018) (holding




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that implied covenant did not apply because “[w]here a contract states that a party must act

‘reasonably’ . . . it appropriately states the scope of the party’s discretion; thus, there is no gap

for the implied covenant to fill” (citation omitted)).

        Likewise, here, there is no “gap” in the shareholder contracts as to the scope of FHFA’s

discretion. The shareholder contracts incorporate HERA’s “best interests” provision, see MTD

Ruling II, 2018 WL 4680197, at *9, which specifies that FHFA, as Conservator, may “take any

action authorized by [HERA] which the Agency determines is in the best interests of the

regulated entity or the Agency.” 12 U.S.C. § 4617(b)(2)(J)(ii); see Collins, 141 S. Ct. at 1776-77

(HERA authorizes FHFA to act in “the best interests of . . . the public” “[w]hether or not [that]

[i]s in the best interests of the [Enterprises] or their shareholders”). That language is materially

indistinguishable from the contract language that foreclosed implied covenant claims in

Policemen’s Annuity, Shareholder Representative Services, and Heritage Handoff Holdings; it

even uses the “best interest” standard that Policemen’s Annuity found dispositive. As in those

cases, HERA’s “best interests” provision, which defines the scope of FHFA’s contractual

discretion, leaves “no gap” in the shareholder contracts, and thus “the implied covenant does not

come into play.” DG BF, LLC, 2021 WL 776742, at *15 (citation omitted).

        This conclusion is consistent with the D.C. Circuit’s prior decision in this case, which

expressly directed this Court to consider the effect of HERA’s “best interests” provision on

Plaintiffs’ implied covenant claim. In remanding the implied covenant claim, the D.C. Circuit

noted that the shareholder stock certificates “provide for dividends ‘if declared by the Board of

Directors, in its sole discretion,’” and that, under Delaware and Virginia law, “[a] party to a

contract providing for such discretion violates the implied covenant if it ‘act[s] arbitrarily or

unreasonably.’” Perry II, 864 F.3d at 631 (emphases added) (citations omitted). But the D.C.




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Circuit also directed this Court to “evaluate [the implied covenant claim] under the correct legal

standard,” and instructed that the Court “should consider,” among other things, whether the

provision in HERA “authorizing the FHFA to act ‘in the best interests of the [Companies] or the

Agency’” affected shareholders’ reasonable expectations and their ability to bring an implied

covenant claim. Id. (quoting 12 U.S.C. § 4617(b)(2)(J)(ii)). That is exactly what Defendants are

asking this Court to do. Under “the correct legal standard,” because HERA’s “best interests”

provision delineates the scope of FHFA’s contractual discretion, the implied covenant does not

apply.

         On summary judgment, this Court held that, notwithstanding HERA’s “best interests”

provision, the shareholder contracts contain a gap because “whether a certain act falls within

FHFA’s statutorily authorized discretion and whether FHFA may incur monetary damages for

exercising that discretion in a manner inconsistent with its independent contractual obligations

are two separate inquiries.” MSJ Ruling, 2022 WL 4745970, at *7. Respectfully, that

conclusion is incorrect. Because HERA’s “best interests” provision is incorporated into the

shareholder contracts, see MTD Ruling II, 2018 WL 4680197, at *9, the scope of FHFA’s

statutorily authorized discretion and its contractual discretion are coextensive. The statute

defines the scope of FHFA’s contractual discretion—FHFA may exercise its discretion to act in

what it determines are the “best interests” of the Enterprises or the public. Just as in the cases

discussed above, this means that Plaintiffs’ implied covenant claim fails as a matter of law

because there is no contractual “gap” to be filled.

         The Court also reasoned that just because FHFA is authorized by HERA to take an act

does not mean that it is insulated from incurring money damages for that act. In so doing, the

Court relied on HERA’s repudiation provision, which “authoriz[es] FHFA, in its capacity as




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conservator of the GSEs, to repudiate contracts, while also providing for the assessment of

damages when FHFA does so.” MSJ Ruling, 2022 WL 4745970, at *7 (citations omitted). But

the question here is not whether FHFA can be held liable for a contract repudiation covered by

HERA’s repudiation provision. The question is whether the implied covenant applies in this

case given that Plaintiffs’ shareholder contracts, by incorporating HERA’s “best interests”

provision, already specify the scope of FHFA’s contractual discretion. Under Delaware and

Virginia law, the answer to that question is “no.” Indeed, Delaware and Virginia law cannot—

and do not—prohibit conduct that Collins held HERA authorized. See Mut. Pharm. Co. v.

Bartlett, 570 U.S. 472, 480 (2013) (holding that federal law controls over contrary state law).

       B.      The Supreme Court’s Decision in Collins Forecloses Plaintiffs’ Claim

       Defendants are independently entitled to judgment as a matter of law because the

Supreme Court’s decision in Collins conclusively establishes that FHFA acted reasonably in

agreeing to the Third Amendment, and that the Conservator’s business decision to enter the

Third Amendment for the public’s benefit is not subject to judicial review under § 4617(f).

       Even if the implied covenant applied here (and it does not), Collins squarely rejects the

central element that Plaintiffs had to prove in order to establish a breach—namely, that FHFA,

by agreeing to the Third Amendment, acted “arbitrarily or unreasonably.” Final Jury

Instructions at 8 (Class ECF No. 383, Berkley ECF No. 393); see also MTD Ruling II, 2018 WL

4680197, at *13. In Collins, the Supreme Court upheld the dismissal at the pleading stage of a

claim by shareholder plaintiffs challenging the Third Amendment under the APA. The Court

unanimously held—while assuming the truth of factual allegations materially identical to

Plaintiffs’ positions here, and drawing all reasonable inferences in the shareholder plaintiffs’

favor—that FHFA’s agreement to the Third Amendment was within the agency’s statutory

authority, and therefore not actionable under the APA, because it was reasonable.


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       Specifically, Collins held that the Third Amendment was within FHFA’s statutory

authority to act in the “best interests” of the public because FHFA “reasonably viewed [the Third

Amendment] as more certain to ensure market stability” than the alternative approaches favored

by the shareholder plaintiffs. 141 S. Ct. at 1777 (emphasis added). “The facts alleged in the

complaint,” the Court explained, “demonstrate that the FHFA chose a path of rehabilitation that

was designed to serve public interests by ensuring Fannie Mae’s and Freddie Mac’s continued

support of the secondary mortgage market.” Id. at 1776. It was “undisputed” that the

Enterprises “had repeatedly been unable to make their fixed quarterly dividend payments without

drawing on Treasury’s capital commitment,” and that “the cap on Treasury’s capital commitment

was scheduled to be reinstated.” Id. at 1777. “If things had proceeded as they had in the past,

there was a realistic possibility that the [Enterprises] would have consumed some or all of the

remaining capital commitment in order to pay their dividend obligations, which were themselves

increasing in size every time the [Enterprises] made a draw.” Id. “The third amendment

eliminated this risk . . . .” Id. The Court thus held that there was a reasonable basis for the

Third Amendment—namely, to “ensure[] that all of Treasury’s capital was available to backstop

the [Enterprises]’ operations during difficult quarters.” Id.

       As the Supreme Court explicitly stated, “[w]hether or not this new arrangement was in

the best interests of the [Enterprises] or their shareholders, the FHFA could have reasonably

concluded that it was in the best interests of members of the public who rely on a stable

secondary mortgage market.” Id. (emphasis added). HERA’s “best interests” provision—which,

again, is incorporated into Plaintiffs’ shareholder contracts—authorizes FHFA, as Conservator,

to “subordinate the best interests of the company to its own best interests and those of the




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public.” Id. at 1785 (citing 12 U.S.C. § 4617(b)(2)(J)(ii)). As a matter of law, that unanimous

Supreme Court holding forecloses Plaintiffs’ claim that, in fact, FHFA acted unreasonably.

       Indeed, the Supreme Court in Collins emphasized that 12 U.S.C. § 4617(f), which

“sharply circumscribe[s] judicial review of any action that the FHFA takes as a conservator,”

exists precisely to prevent interference with Conservator business judgments like those embodied

in the Third Amendment. Collins, 141 S. Ct. at 1775-76. Section 4617(f) prohibits courts from

taking “any action to restrain or affect the exercise of [the] powers or functions of the Agency as

a conservator.” 12 U.S.C. § 4617(f). After having held that FHFA acted “reasonably” by

entering into the Third Amendment to ensure market stability, the Supreme Court cited § 4617(f)

for the broad proposition that the Conservator’s “business decisions are protected from judicial

review.” 141 S. Ct. at 1785. Thus, neither the jury nor this Court could assess whether the

Conservator’s decision to enter into to the Third Amendment and its Net Worth Sweep violated

the implied covenant of good faith and fair dealing. That was a quintessential Conservator

business decision made in the public interest. Congress intended that the Conservator could act

for the sole benefit of the public, and the Supreme Court ruled that the Conservator acted

reasonably, for the benefit of the public, “to ensure market stability.” Id. at 1777. The Court

unanimously recognized that this type of Conservator business decision made for the benefit of

the public was not subject to judicial review under § 4617(f). Indeed, the business decision

challenged in this case was a core exercise of the Conservator’s broad “powers under HERA” to

“subordinat[e] the best interests of the Enterprises and [their] shareholders to [FHFA’s] own best

interests and those of the public.” Fairholme Funds, Inc. v. United States, 26 F.4th 1274, 1286-

87 (Fed. Cir. 2022). Thus, the finding by the jury that the Conservator violated the implied

covenant of good faith and fair dealing is inconsistent with Collins.




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       Plaintiffs’ evidence and arguments to the jury at trial confirm that their implied covenant

claim contravenes Collins. The following chart shows the two main reasons the shareholder

plaintiffs in Collins argued that the Third Amendment was unreasonable, the materially

indistinguishable arguments the Plaintiffs made here, and the reasons Collins gave for rejecting

those arguments.

                                                                        Supreme Court’s
    Shareholder plaintiffs’
                                   Plaintiffs’ arguments here          reasoning in Collins
     arguments in Collins
 The shareholder plaintiffs      Plaintiffs argued that “all       “The nature of the
 “claim[ed] that the FHFA        signs were good that [the         conservatorship authorized by
 adopted the third amendment     Enterprises] were about to        [HERA] permitted the
 at a time when the companies    have sustained profitability,”    Agency to reject the
 were on the precipice of a      which “would mean they            shareholders’ suggested
 financial uptick and . . .      barely need to draw down on       strategy in favor of one that
 would soon have been in a       the Treasury commitment at        the Agency reasonably
 position not only to pay cash   all, much less draw down so       viewed as more certain to
 dividends, but also to build    much that it would threaten to    ensure market stability. The
 up capital buffers to absorb    exhaust the commitment.”          success of the strategy that
 future losses.” 141 S. Ct. at   Trial II Tr. 447:2-6 (Ex. A);     the shareholders tout was
 1777. “Thus, the                see also, e.g., id. at 2795:12-   dependent on speculative
 shareholders assert[ed],        21 (closing) (“Maybe they are     projections about future
 sweeping all the companies’     turning the corner. Maybe         earnings, and recent
 earnings to Treasury            they are going to make big        experience had given the
 increased rather than           profits. Maybe those write-       FHFA reasons for caution.”
 decreased the risk that the     downs will become write-ups       141 S. Ct. at 1777.
 companies would make            and they can get back on their
 further draws and eventually    feet. . . . But the net worth
 deplete Treasury’s              sweep changed that.”).
 commitment.” Id.

 “[T]he shareholders             Plaintiffs argued that if the     “This argument rests on a
 contend[ed] that the FHFA       Enterprises just “used the        misunderstanding of the
 could have protected            safety valve, the payment-in-     agreement between the
 Treasury’s capital              kind option, they don’t need      companies and Treasury. The
 commitment by ordering the      to draw on the commitment at      companies’ stock certificates
 companies to pay the            all.” Trial II Tr. 454:24-25      required Fannie Mae and
 dividends in kind rather than   (Ex. A). Paying in kind was a     Freddie Mac to pay their
 in cash,” which would have      “foolproof solution to the so-    dividends ‘in cash in a timely
 resulted only in a modest       called problem that [FHFA]        manner.’ If the companies
 “penalty.” 141 S. Ct. at        was trying to solve.” Id. at      had failed to do so, they
 1777-78.                        457:15-16; see also, e.g., id.    would have incurred a



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                                                                          Supreme Court’s
    Shareholder plaintiffs’
                                   Plaintiffs’ arguments here            reasoning in Collins
     arguments in Collins
                                  at 2820:16-18 (closing) (“So      penalty[] . . . . Thus, paying
                                  if you are worried about the      Treasury in kind would not
                                  bond and MBS investors and        have satisfied the cash
                                  the commitment, the payment       dividend obligation, and the
                                  in kind is a really good          risk that the companies’ cash
                                  option”); id. at 2823:15-18       dividend obligations would
                                  (“Kind of like the payment in     consume Treasury’s capital
                                  kind provision. They could        commitment in the future
                                  have tried for that. They         would have remained.” 141
                                  didn’t. No evidence that they     S. Ct. at 1777-78 (citation
                                  considered any of these           omitted).
                                  alternatives”).


       On summary judgment, this Court ruled that this case “involve[s] a different type of

reasonableness analysis” from Collins. MSJ Ruling, 2022 WL 4745970, at *5. In the Court’s

view, “[a]t issue in Collins was whether FHFA could reasonably have determined that adopting

the Third Amendment was ‘in the best interests of the regulated entity or the Agency,’ and thus

acted within its statutory authority as conservator of the GSEs in so doing.” Id. (citation omitted,

emphasis by this Court). “Here, in contrast, the issue is whether FHFA ‘violated the reasonable

expectations of the parties’ by adopting the Third Amendment.” Id. (citation omitted, emphasis

by this Court). Respectfully, that distinction does not reconcile Plaintiffs’ claims with the

Supreme Court’s decision, nor does it recognize the Supreme Court’s statement that § 4617(f)

protects FHFA’s business decisions made in the public interest (such as its decision to enter into

the Third Amendment) from judicial review. As explained, HERA’s “best interests” provision is

incorporated into the shareholder contracts and thus, as a matter of law, forms part of any

reasonable expectations shareholders might have had. And the Supreme Court held that FHFA

reasonably determined that its actions served the public interest. Consequently, there is no

meaningful difference between the holding in Collins and the issue here. Yet the jury in this case



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was instructed, over Defendants’ objection, that “[w]hile HERA authorized FHFA to act in the

best interests of the GSEs, the FHFA, or the public, FHFA’s exercise of that statutory authority

can still have violated the implied covenant of good faith and fair dealing if it exercised that

authority in a way that arbitrarily or unreasonably violated plaintiffs’ reasonable expectations

under the contract.” Final Jury Instructions at 9 (Class ECF No. 383, Berkley ECF No. 393).

Putting to the jury the question of FHFA’s reasonableness in agreeing to the Third Amendment

was directly at odds with Collins.

       C.      Plaintiffs’ Claim Improperly Seeks To Recover for Anticipatory Breach of
               Dividend-Related Obligations Contained in Unilateral Contracts

       Plaintiffs’ implied covenant claim fails as a matter of law for another independent reason:

The claim asserts, in substance, an anticipatory breach of the Enterprises’ obligation to

reasonably exercise discretion to declare dividends at some point in the future yet fails to meet

the necessary preconditions for such a claim under Delaware or Virginia law.

       Under the doctrine of anticipatory breach, “a voluntary affirmative act which renders the

obligor unable to perform is a repudiation that ripens into a breach prior to the time for

performance if the promisee elects to treat it as such by, for instance, suing for damages.” Perry

II, 864 F.3d at 632 (cleaned up). Both Virginia and Delaware recognize the doctrine and thus

generally allow such suits prior to the time for performance. See id. (citing Lenders Fin. Corp. v.

Talton, 455 S.E.2d 232, 236 (Va. 1995); W. Willow-Bay Court, LLC v. Robino-Bay Court Plaza,

LLC, 2009 WL 458779, at *5 & n.37 (Del. Ch. Feb. 23, 2009)). As this Court has recognized,

however, the anticipatory breach doctrine “does not apply to unilateral contracts, especially when

the only remaining performance is the payment of money,” MTD Ruling II, 2018 WL 4680197,

at *5 (citing Smyth v. United States, 302 U.S. 329, 356 (1937)), nor to “bilateral contracts that

have become unilateral by full performance on one side,” id. (quoting 23 Williston on Contracts



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§ 63:60). “In other words, ‘if the payee has completely performed his side of the contract and is

just awaiting payment, he can’t declare a breach and sue for immediate payment just because he

has reason (even compelling reason) to doubt that the other party will pay when due.’” Id.

(quoting Cent. States, Se. & Sw. Areas Pension Fund v. Basic Am. Indus., Inc., 252 F.3d 911,

915 (7th Cir. 2001)). Both Delaware and Virginia apply this limitation to claims for anticipatory

breach. See id. at *6; Fairfax-Falls Church Cmty. Servs. Bd. v. Herren, 337 S.E.2d 741, 743

(Va. 1985); Meso Scale Diagnostics, LLC v. Roche Diagnostics GmbH, 62 A.3d 62, 78 n.102

(Del. Ch. 2013); see generally Restatement (Second) of Contracts § 253, cmt. c; Glenn v. Fay,

281 F. Supp. 3d 130, 140 (D.D.C. 2017) (Lamberth, J.) (holding that lawyer’s disavowal of

contractual obligations to share potential monetary recovery with co-counsel was not actionable

until judgment was actually collected and time for performance arrived).

       Here, Plaintiffs’ implied covenant claim asserts that the Net Worth Sweep made it

impossible for the Enterprises to pay dividends in the future, but Plaintiffs cannot invoke the

anticipatory breach doctrine to sue immediately because the shareholder contracts are unilateral.

Indeed, this Court has already held that the shareholder contracts are unilateral because the

shareholders already performed their only obligations by purchasing the shares and owe no

further obligation to the Enterprises. In this Court’s words, “Plaintiffs completed their end of the

bargain by purchasing preferred shares.” MTD Ruling II, 2018 WL 4680197, at *6.

       Plaintiffs’ implied covenant claim rests on future performance. As this Court instructed

the jury, Plaintiffs claimed that FHFA “breached the implied covenant of good faith and fair

dealing by eliminating any possibility that shareholders other than Treasury would receive

dividends in the future.” Final Jury Instructions at 9 (Class ECF No. 383, Berkley ECF No. 393)

(emphasis added). Likewise, at summary judgment, this Court described Plaintiffs’ “lost value”




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theory as asserting “that the Third Amendment deprived plaintiffs’ shares of much of their

value” “by eliminating any possibility of future dividends for non-Treasury shareholders.” MSJ

Ruling, 2022 WL 4745970, at *11 (emphasis added). As this Court explained, multiple legal and

practical obstacles in addition to the Net Worth Sweep stand between Plaintiffs and any future

dividend payments. At a minimum, Plaintiffs cannot sue until “Treasury and FHFA . . . amend[]

the PSPAs to allow a paydown of the Liquidation Preference,” which has not occurred. Id. at *9.

       The D.C. Circuit’s decision and this Court’s 2018 motion-to-dismiss decision reinforce

the conclusion that Plaintiffs’ implied covenant claim is an unripe claim for anticipatory breach.

The D.C. Circuit held that Plaintiffs’ “claims for breach of contract with respect to liquidation

preferences are better understood as claims for anticipatory breach,” and remanded those claims

on that basis. Perry II, 864 F.3d at 633. This Court then dismissed those claims, explaining that

Plaintiffs’ performance was complete and Defendants’ performance was not yet due. As to

Plaintiffs, they “completed their end of the bargain by purchasing preferred shares,” and as to

Defendants, “[w]ith respect to the liquidation preference, the only remaining performance is

payment of the preference by Fannie Mae or Freddie Mac upon liquidation (if it ever occurs).”

MTD Ruling II, 2018 WL 4680197, at *6. Thus, “Plaintiffs fail[ed] to state a claim for breach of

contract.” Id. The same logic applies to Plaintiffs’ implied covenant claim. Just as Plaintiffs

claimed that the Net Worth Sweep eliminated the possibility that private shareholders could

receive value for their liquidation preference rights in the event of a future liquidation, they claim

that it also eliminated the possibility of future dividend payments. The limitation on anticipatory

breach claims for unilateral contracts accordingly applies to Plaintiffs’ claim based on the

elimination of possible future dividends in precisely the same way as this Court found it did for

the claims based on the elimination of future liquidation preference rights.




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       In its 2019 decision denying reconsideration, this Court declined to dismiss Plaintiffs’

implied covenant claim based on the unilateral-contract limitation on the anticipatory breach

doctrine because the Court perceived a distinction between breach of contract claims and implied

covenant claims. The Court held that implied covenant claims fall outside the anticipatory

breach rubric because such claims seek to enforce “an ongoing obligation; performance is always

due.” Order Denying Reconsideration at 3 (Class ECF No. 104, Berkley ECF No. 99). The

Court thus contrasted the dismissed breach of contract claims, which sought “to hold defendants

presently accountable for a future breach of an express provision,” with implied covenant claims,

which “seek to hold defendants presently accountable for a present breach.” Id.

       Respectfully, the Court should reconsider. A party cannot evade the unilateral-contract

limitation on the anticipatory breach doctrine by simply recharacterizing an anticipated future

breach of contract as a present breach of the implied covenant. To begin with, Delaware and

Virginia treat the implied covenant of good faith and fair dealing as ancillary to the underlying

express contract, not as a source of independent legal rights. Breach of the implied covenant is a

form of breach of contract. See 17A Am. Jur. 2d Contracts § 673 (Feb. 2024) (“A violation of

the implied covenant of good faith and fair dealing is a breach of contract, which is not separate

from other breach of contract claims.”). Virginia courts require that implied covenant claims be

pleaded as a form of breach of contract, and do not recognize such claims as standalone counts.

See Frank Brunckhorst Co., L.L.C. v. Coastal Atl., Inc., 542 F. Supp. 2d 452, 465 (E.D. Va.

2008) (“the breach of [implied covenant] duties gives rise to an action for breach of contract, not

a separate claim”); Carr v. Fed. Nat’l Mortg. Ass’n, 92 Va. Cir. 472, 2013 WL 12237855, at *4

(2013) (“It is well-settled that Virginia law does not recognize an independent cause of action for




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breach of the implied warranty of good faith and fair dealing, but it does give rise to a breach of

contract claim.”).

       In Delaware, too, “a claim for breach of the implied covenant is contractual.” MHS

Capital LLC v. Goggin, 2018 WL 2149718, at *11 (Del. Ch. May 10, 2018). The implied

covenant is merely a doctrine “by which Delaware law cautiously supplies terms to fill gaps in

the express provisions of a specific agreement.” Dieckman v. Regency GP LP, 2018 WL

1006558, at *3 (Del. Ch. Feb. 20, 2018) (quoting Allen v. El Paso Pipeline GP Co., L.L.C., 113

A.3d 167, 182 (Del. Ch. 2014)); see Gerber v. Enter. Prod. Holdings, LLC, 67 A.3d 400, 419

(Del. 2013) (implied covenant fills “residual nooks and crannies” in express contract), overruled

on other grounds by Winshall v. Viacom Int’l., Inc., 76 A.3d 808, 815 n.13 (Del. 2013).

       At bottom, a breach of an express contractual term and a breach of the implied covenant

are just alternate ways of complaining about being deprived of the fruits of one’s bargain. The

former argues that the other party breached an express term of the contract thereby depriving

plaintiff of the reasonably expected value of the contract, whereas the latter argues that the other

party unreasonably took an action that would prevent the plaintiff from fully enjoying the fruits

and thereby violates a contractual term implied by law. See MTD Ruling II, 2018 WL 4680197,

at *7; Final Jury Instructions at 8 (Class ECF No. 383, Berkley ECF No. 393) (violation of

implied covenant involves “frustrating the fruits of the bargain that the asserting party reasonably

expected”). But in both, if the alleged injury turns on expectations about future performance—

fruits that need not yet be delivered—then the claim is for anticipatory breach. And if the

underlying contract is unilateral, such a claim will not lie. Here, the shareholder contracts are

unilateral, and Plaintiffs’ implied covenant claim asserts that the Net Worth Sweep prevented

shareholders from enjoying contractual benefits (dividends) that will not be due, if ever, until




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well in the future. Put another way, this Court’s observation that the implied covenant is

“ongoing” skirts the relevant question—when would the contractual benefits at issue become

due, such that Plaintiffs would be harmed by not receiving them? Because dividends could

become due only at some indefinite point in the future, Plaintiffs’ implied covenant claim based

on the elimination of those benefits is anticipatory and thus unripe.

       The fact that Plaintiffs’ measure of damages (a one-day drop in share prices) is based on

the market’s immediate perception of the present value of the lost possibility of future dividends,

rather than the actual value of potential future lost dividends themselves, does not avoid the bar

on anticipatory breach suits for unilateral contracts. To the contrary, Plaintiffs’ reliance on the

market’s one-day response to the Third Amendment just reinforces that Plaintiffs’ claim is

anticipatory in nature. The key point is that shareholders knew that contractual benefits were not

due until far into the future, and the sale and purchase of shares was necessarily based on the

market’s speculation about the path of the Enterprises out of conservatorship. Regardless of

whether Defendants’ alleged breach of future performance may also result in immediate share-

price decline, it tells us nothing about the actual loss in dividends that the shareholders may incur

in the future. If Plaintiffs want to sue for the elimination of the possibility of receiving future

dividends, they must wait to do so until they would have been entitled to that contractual benefit.

In all events, Plaintiffs cannot sue now.

       If the distinction the Court made in its 2019 opinion were the law, little would remain of

the unilateral-contract limitation on anticipatory breach claims. A plaintiff could easily

circumvent this limitation by recharacterizing the alleged anticipatory breach of contract as a

present breach of the implied covenant. And it would be easy for disappointed promisees to

plausibly allege that an action purported to make it impossible for them to receive the fruits of




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their bargain in the future was the result of arbitrary or unreasonable action now. If such

promisors can be liable for a “present breach” of the obligation to “operate in good faith and not

violate their co-contracting party’s reasonable expectations,” Order Denying Reconsideration at

3 (Class ECF No. 104, Berkley ECF No. 99), the longstanding limitation on anticipatory breach

claims would be rendered meaningless, as a plaintiff could virtually always recover the same

damages under an implied covenant theory.

       D.       Plaintiffs Failed To Prove with Reasonable Certainty That the Third
                Amendment or the Net Worth Sweep Harmed Them

       Beyond the issues above, to prevail on a claim for breach of the implied covenant in both

Delaware and Virginia, plaintiffs must prove with “reasonable certainty” both “the existence of

damages” and that those damages “flowed from the defendant’s violation of the contract.”

eCommerce Indus., Inc. v. MWA Intel., Inc., 2013 WL 5621678, at *13 (Del. Ch. Sept. 30, 2013);

see Saks Fifth Ave., Inc. v. James, Ltd., 630 S.E.2d 304, 311 (Va. 2006); MSJ Ruling, 2022 WL

4745970, at *4. “Speculation and conjecture as to whether the plaintiff suffered any substantial

amount of harm cannot form the basis for recovery.” MSJ Ruling, 2022 WL 4745970 at *8

(cleaned up).

       Applying these principles, this Court granted partial summary judgment rejecting

Plaintiffs’ theory that the Third Amendment deprived Plaintiffs of dividends they otherwise

would have received in the future. Id. at *9-10. The Court reasoned that this “lost-dividends”

theory would “require[] the jury simply to guess” what would have happened “in a

counterfactual world” without the Third Amendment. Id. at *9; see also id. (discussing

uncertainty as to whether, in a but-for world, Treasury would have allowed the Enterprises to pay

down Treasury’s liquidation preference, which was a condition precedent to the Enterprises

paying dividends to private shareholders). “Even a good guess,” the Court explained, “would



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require an inherently speculative logical leap that could not result in the reasonable certainty that

Delaware and Virginia law require as to damages.” Id. at *10.

       The Court held, however, that genuine disputes of material fact foreclosed summary

judgment on Plaintiffs’ alternative “lost-value” theory—namely, “that the Third Amendment, by

eliminating any possibility of future dividends for [private] shareholders, deprived plaintiffs’

shares of much of their value, even if such dividends were not reasonably certain to occur in the

foreseeable future.” Id. at *11. The Court pointed to Plaintiffs’ argument that “an event study

by one of defendants’ experts showing a sharp decline in stock prices after the Third

Amendment’s announcement refutes the claim that this action caused no harm.” Id. (quotation

marks omitted). The Court thus found that there was “a lingering dispute of material fact as to

whether the Third Amendment and its elimination of possible future dividends harmed plaintiffs

by depriving them of much of the value of their shares.” Id.

       At trial, Plaintiffs bore the burden to prove, with reasonable certainty, that current

shareholders suffered a “substantial amount of harm,” id. at *8, based on this lost-value theory.

Plaintiffs failed to carry that burden, in three independent ways. In particular, Plaintiffs failed to

introduce evidence (1) attempting to show that current shareholders are worse off today than they

would be absent the Third Amendment; (2) attempting to account for the substantial increases in

share prices that occurred shortly after the Third Amendment; or (3) showing that the one-day

decline in share prices on August 17, 2012 was attributable solely to the Net Worth Sweep, as

opposed to other terms of the Third Amendment. Absent evidence on these issues, the jury had

no sufficient basis to find with reasonable certainty that current shareholders were harmed.




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               1.      Plaintiffs Introduced No Evidence To Show That Current
                       Shareholders Are Worse Off Today Due to the Third Amendment

       As this Court has held, “expectation damages are the standard remedy in contract cases

and are ‘measured by the amount of money that would put the promisee in the same position as if

the promisor had performed the contract.’” SJ Reconsideration Ruling, 2022 WL 11110548, at

*4 (quoting Duncan v. Theratx, Inc., 775 A.2d 1019, 1022 (Del. 2001), and citing Estate of

Taylor v. Flair Prop. Assocs., 448 S.E.2d 413 (Va. 1994)). Here, the promisees are current

shareholders who seek expectation damages based on a decline in the market value of their

shares caused by the Third Amendment. Final Jury Instructions at 7-9 (Class ECF No. 383,

Berkley ECF No. 393); see MSJ Ruling, 2022 WL 4745970, at *11. Plaintiffs thus needed to

prove with reasonable certainty that current shareholders must be paid some amount of money

today to be “put . . . in the same position as if” the Third Amendment had not happened. SJ

Reconsideration Ruling, 2022 WL 11110548, at *4. In other words, Plaintiffs bore the burden at

trial to demonstrate that, but for the Third Amendment, the market value of their shares would be

higher today than it actually is.

       Plaintiffs introduced no evidence attempting to show how much their shares would be

worth today absent the Third Amendment.6 The only damages evidence Plaintiffs presented was

testimony of their expert, Dr. Mason, regarding an event study performed by Defendants’ expert,



6
  Before the second trial, the parties agreed that (1) Dr. Mason would not testify as to any
opinions in his supplemental report (which the Court had already rejected as untimely, see supra
n.1), including his supplemental opinions regarding the impact of the Net Worth Sweep on
current share prices; and (2) Defendants would not ask Dr. Mason questions about “price
recovery” or otherwise argue to the jury that the share-price increases after August 17, 2012
mitigated Plaintiffs’ alleged damages. This agreement did not relieve Plaintiffs of their burden
to present legally sufficient evidence to support the elements of their claim, including harm and
damages. See, e.g., United States v. Kennedy, 643 F.3d 1251, 1257 (9th Cir. 2011) (recognizing
that a party’s agreement not to dispute certain facts does “not relieve [the other party] of its
burden of proving those facts”).


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Dr. Attari. See Trial II Tr. 748:18-23, 750:16-52:8 (Ex. A). That event study measured the one-

day decline in Enterprise share prices on August 17, 2012, as well as several other share-price

movements, all in 2012. PX-375 (Ex. E); see Trial II Tr. 748:18-22, 750:16-752:6 (Ex. A). The

event study did not address the price of the shares at any point after 2012, let alone measure how

the shares’ current price may (or may not) be affected by the Third Amendment. No evidence

introduced at trial addressed whether share prices today would be higher, lower, or the same

absent the Third Amendment. The jury thus had no evidentiary basis to conclude that current

shareholders must be paid any amount of money at all today to be put in the “same position” they

would occupy but for the Third Amendment. SJ Reconsideration Ruling, 2022 WL 11110548, at

*4.

       A one-day decline in share prices over eleven years ago, standing alone, does not

demonstrate harm to current shareholders because they never realized any loss on the shares. To

illustrate the point, consider a shareholder that has held shares continuously from before the

Third Amendment through today. The market price of those shares has varied substantially

during that time, including a substantial increase in share prices shortly after the Third

Amendment. It is true that the market price of those shares declined substantially on August 17,

2012, but this continuous shareholder—by definition—did not sell the shares and realize any

loss. Instead, the shareholder continues to hold them today. At trial, Plaintiffs offered no

explanation for why erasing a one-day drop eleven years ago in the price of shares they still hold

today would place them in the same position they would occupy but for the Third Amendment.

       The only conceivable attempt by Plaintiffs to meet their burden to establish injury was

conclusory and insufficient. On direct examination, Dr. Mason was asked the question:

“Professor Mason, does the $1.6 billion in damages [that plaintiffs then sought] from the net




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worth sweep still persist today?” Trial II Tr. 767:2-3 (Ex. A). Dr. Mason responded, “Yes.” Id.

at 767:4. Dr. Mason never provided any explanation or basis for this answer. Such unreasoned

and conclusory ipse dixit falls far short of providing the “reasonable certainty” necessary to

establish harm and damages. See, e.g., Twin Cities Bakery Workers Health and Welfare Fund v.

Biovail Corp., 2005 WL 3675999, at *5 (D.D.C. Mar. 31, 2005) (expert’s ipse dixit “too

speculative to forge the chain of causation plaintiffs’ proof of damages requires”). Plaintiffs

apparently recognized this deficiency and attempted to elicit some explanation from Dr. Mason

during their re-direct examination. See Trial II Tr. 800:2-6 (Ex. A). But the Court sustained

Defendants’ objection on the ground that Dr. Mason’s expert reports did not disclose any such

opinion. Id. at 800:9-802:21. A single word of testimony from Dr. Mason cannot plausibly meet

Plaintiffs’ burden to prove with reasonable certainty that, but for the Third Amendment,

Enterprise share prices would be higher today.

               2.      Plaintiffs Introduced No Evidence Accounting for the Sizeable Share-
                       Price Increases Shortly After the Third Amendment

       The evidence at trial undisputedly showed that, after the one-day decline on August 17,

2012, share prices increased substantially, recovering most of the lost market value within

weeks. See PX-375 at 3-4 (Ex. E) (graphs in event study showing the Enterprises’ share prices

throughout 2012, including both the one-day price drop and the subsequent price increases). By

the end of October 2012, Enterprise share prices were actually higher than they had been just a

week before the Third Amendment, in early August 2012. See id. at 6 (tables). Those price

increases shortly after the Third Amendment negate Plaintiffs’ attempt to prove with reasonable

certainty that the Third Amendment caused Plaintiffs (current holders) any actual harm.

       To meet their burden to prove damages with reasonable certainty, Plaintiffs needed to

account for the share-price increases in the weeks following the initial drop on August 17, 2012.



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Indeed, in the context of a federal securities fraud claim, this Court has held that shareholders

cannot assume they suffered harm from an immediate drop in share price without addressing a

subsequent rebound in the price. In Ross v. Walton, 668 F. Supp. 2d 32 (D.D.C. 2009), the

plaintiffs alleged that they suffered an economic loss when the company’s stock price dropped

immediately following a corrective disclosure. After that event, however, the company’s stock

returned to the pre-disclosure price soon after the class period ended. The Court dismissed the

case on the pleadings, explaining that it was “unaware of any authority in which actual economic

loss was found when the stock value returned to the pre-disclosure prices and could have been

sold at a profit just after the class period.” Id. at 43. Other courts have reached the same

conclusion and dismissed similar securities fraud actions on the pleadings. See, e.g., In re

Immucor, Inc. Sec. Litig., 2011 WL 3844221, at *2 (N.D. Ga. Aug. 29, 2011) (“Plaintiff failed to

adequately plead economic loss and loss causation because Immucor’s share price quickly

rebounded to pre-disclosure levels ….”); In re Estee Lauder Companies, 2007 WL 1522620, at

*1 n.5 (S.D.N.Y. May 21, 2007) (“Plaintiff’s contention that economic loss is sustained simply

as a result of the fact that the price of the stock dropped following disclosure is unpersuasive.”).7

       These decisions rely on the Supreme Court’s decision in Dura Pharmaceuticals v.

Broudo, 544 U.S. 336 (2005), which held that a securities fraud plaintiff fails to establish loss

causation where their complaint merely alleges that “the price on the date of purchase was




7
  Some courts have disagreed with the holding of Ross and similar decisions that a rebound in
share price can provide a basis, at the pleading stage, to dismiss a cause of action for lack of
harm. See, e.g., Acticon AG v. China Ne. Petroleum Holdings Ltd., 692 F.3d 34, 39 (2d Cir.
2012). But the D.C. Circuit has not rejected Ross. Further, even Acticon held that, while the
issue should not be resolved at the pleading stage, a plaintiff must submit proof that a rebound in
share price is unrelated to the alleged wrongdoing. Id. at 41 (“At this stage in the litigation, we
do not know whether the price rebounds represent the market’s reactions to the disclosure of the
alleged fraud or whether they represent unrelated gains.”).


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inflated because of the misrepresentation.” Id. at 342 (emphasis omitted). The Court explained

that “the logical link between the inflated share purchase price and any later economic loss is not

invariably strong.” Id. “When the purchaser subsequently resells such shares, even at a lower

price, that lower price may reflect, not the earlier misrepresentation, but changed economic

circumstances, changed investor expectations, new industry-specific or firm-specific facts,

conditions, or other events, which taken separately or together account for some or all of that

lower price.” Id. at 342-43. Importantly, the Court noted that these principles were not unique

to federal securities claims, but were long established in “[t]he common law.” Id. at 343-44.8

       Here, Plaintiffs at trial failed to prove exactly the same thing that the plaintiffs in Ross

failed to allege—facts accounting for an increase in the relevant share price shortly after the

event in question, in this case a substantial increase in Enterprise share prices within roughly six

weeks after the Third Amendment. If Plaintiffs are correct that share prices dropped on August

17, 2012 because the Third Amendment eliminated any possibility of future dividends to private

shareholders, then what caused share prices to increase shortly thereafter? Plaintiffs offered no

explanation. For this additional reason, the evidence at trial was insufficient to prove damages

with the reasonable certainty required.




8
  The Private Securities Litigation Reform Act (“PSLRA”) reinforces that litigants must account
for a recovery in share price in any case where harm is premised on a one-day drop in share
price. The PSLRA “include[s] a ‘bounce back’ provision that caps the amount of damages
available in a securities fraud action.” Acticon AG, 692 F.3d at 38. That provision “does not
calculate damages based on a single day decline in price, but instead allows the security an
opportunity to recover over a period of 90 days.” Id. at 39 (quotation marks omitted). Although
this bounce-back provision is statutorily imposed, it is consistent with the “measure of damages
traditionally applied by courts.” Id.


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               3.      Plaintiffs Introduced No Evidence To Account for a Potential
                       Alternative Cause of the One-Day Decline in Share Prices

       Plaintiffs failed to prove damages with reasonable certainty for a third, independent

reason: they introduced no evidence to exclude an alternative cause of the share-price drop.

       As explained above, the only damages evidence Plaintiffs presented at trial was

testimony from their expert, Dr. Mason, regarding an event study performed by Defendants’

expert, Dr. Attari. See Trial II Tr. 748:18-23, 750:16-752:8 (Ex. A). Dr. Mason acknowledged

that, “in order to be a properly conducted event study, the event study must have a method to

exclude alternative potential causes of the purported impact of the event in question.” Id. at

792:1-5; see also, e.g., In re Williams Sec. Litig.-WCG Subclass, 558 F.3d 1130, 1143 (10th Cir.

2009). Here, while Dr. Attari’s event study showed that the total market value of the relevant

Enterprise shares dropped by $1.61 billion on August 17, 2012, Dr. Mason testified that this

event study “measures the effect of the [T]hird [A]mendment” as a whole, even though “[t]he net

worth sweep is just a component or one provision of the overall [T]hird [A]mendment.” Trial II

Tr. 791:21-25, 792:15-17 (Ex. A). Beyond the Net Worth Sweep, Dr. Mason agreed that the

Third Amendment also accelerated the reduction of the Enterprises’ retained mortgage

portfolios, which required the Enterprises to “shrink[] one part of the[ir] business.” Id. at

793:22-794:25.

       Yet Dr. Mason conceded on the stand that Dr. Attari’s event study “does not … attempt[]

to distinguish between the impact of the net worth sweep on the stock prices and any impact of

the acceleration of the reduction of the retained mortgage portfolios.” Id. at 794:12-24. He

further acknowledged that the event study “does not try to analyze how much of the $1.6 billion

stock price drop may have been caused by the net worth sweep and how much of that drop may

have been caused by this accelerated reduction of the retained mortgage portfolios.” Id. In Dr.



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Mason’s words, “Defendants’ event study does not do that.” Id. at 794:18, 794:24. Importantly,

Dr. Mason also acknowledged that “when an event study cannot distinguish between the impact

of the net worth sweep and the impact of the acceleration of the reduction of the retained

mortgage portfolios,” then an expert relying on that event study “lacks any economically sound

basis for concluding that the net worth sweep had the effect that the expert claims.” Id. at

794:25-795:8. Thus, Dr. Mason’s own testimony shows that Plaintiffs did not present “any

economically sound basis” for determining what portion of the share-price drop on August 17,

2012, may have been attributable to the Net Worth Sweep.

       This Court need not take Defendants’ word for it that Dr. Mason offered no testimony to

isolate the effect of the Net Worth Sweep on share prices; this Court already so ruled during the

trial. On redirect examination, Plaintiffs attempted to ask Dr. Mason for his “opinion about

whether it was the net worth sweep or … this accelerated reduction[] that actually caused Fannie

and Freddie’s preferred and common stock to fall by 50 percent on one day.” Id. at 805:12-16.

Defendants objected that Dr. Mason’s reports disclosed no such opinion, and the Court sustained

the objection. Id. at 805:12-808:10. The Court then reiterated its ruling the following day,

explaining that “Dr. Mason did not testify on direct about the acceleration of the reduction

issue,” that the questioning on cross-examination “did not open the door,” and that “it would be

beyond the scope to try to go into that whole issue.” Id. at 840:10-22. Put simply, Dr. Mason’s

testimony—as construed and limited by this Court during the trial—provided the jury with no

basis to determine with reasonable certainty what portion of the stock price drop may have been

attributable to the Net Worth Sweep as opposed to an alternative cause, including the Third

Amendment’s acceleration of the reduction of the Enterprises’ retained mortgage portfolios.

                                            * * * * *




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       For multiple, independent reasons, Plaintiffs’ claim fails as a matter of law. The implied

covenant does not even apply here because the shareholder contracts already specify the scope of

FHFA’s discretion and thus leave no gap to fill. The Supreme Court’s decision in Collins

conclusively forecloses Plaintiffs’ implied covenant claim. Plaintiffs allege that the shareholder

contracts had been breached when no dividends could be due until long into the future—an

anticipatory breach theory this Court already rejected. And Plaintiffs failed to provide sufficient

evidence from the which the jury could conclude with reasonable certainty that shareholders

were harmed. The Court should grant judgment as a matter of law for Defendants in full.

II.    AT A MINIMUM, DEFENDANTS ARE ENTITLED TO JUDGMENT AS A
       MATTER OF LAW AS TO POST-THIRD AMENDMENT PURCHASERS
       BECAUSE THEY SUFFERED NO INJURY AND THUS LACK STANDING

       In a class action, “[e]very class member must have Article III standing in order to recover

individual damages. Article III does not give federal courts the power to order relief to any

uninjured plaintiff, class action or not.” TransUnion LLC v. Ramirez, 594 U.S. 413, 431 (2021)

(citation and quotation marks omitted). “Standing can be raised at any point in a case proceeding

and, as a jurisdictional matter, may be raised, sua sponte, by the court.” Steffan v. Perry, 41 F.3d

677, 697 n.20 (D.C. Cir. 1994) (en banc). Here, all Plaintiffs who bought shares after the Third

Amendment lack standing to pursue claims with respect to those shares because they suffered no

injury from the share-price drop. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992).

       Even assuming Plaintiffs could prove with reasonable certainty that some shareholders

suffered compensable harm based on the August 17, 2012 share-price drop, Plaintiffs failed as a

matter of law to make that showing as to shares that current shareholders purchased after that

price drop. The classes here include (1) current shareholders who have owned their shares

continuously since before the Third Amendment; and (2) current shareholders who bought their

shares after the Third Amendment. Class Cert. Ruling, 2021 WL 5799379, at *1. The Berkley


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Plaintiffs similarly own some shares they purchased after the Third Amendment, and some

shares they have held continuously since before it. See generally Berkley Pls.’ Supp. Answer to

Defs.’ First Interrog. (attached as Exhibit G); Berkley Pls.’ Second Supp. Answer to Defs.’ First

Interrog. (attached as Exhibit H). Plaintiffs do not contend that current shareholders who

purchased after the Third Amendment suffered injury from the August 17, 2012 share-price drop

that had already occurred. Nor could they. Rather, Plaintiffs contend—consistent with this

Court’s prior rulings that the claim here “traveled with the shares,” see supra n.4—that the

damage claims of the former shareholders who held shares at the time of the Third Amendment

were automatically assigned to anyone who bought those shares afterwards. In other words,

Plaintiffs contend that shareholders who held shares at the time of the Third Amendment and

then sold their shares “were damaged, but they . . . sold their rights to recovery when they sold

the shares to the next buyer. And if that buyer sold to another buyer, those rights were further

passed.” Tr. of Dep. of J. Mason at 204:8-12 (Apr. 26, 2023) (attached as Exhibit I).

       But this notion that the claim “travels with the share” is contrary to decades of authority

from around the country and should be rejected as a matter of both Virginia and Delaware law.

Under settled law, the claims of former holders who sold at a loss after the Third Amendment

were not automatically transferred to the buyers, who bought the shares at a price that Plaintiffs

contend was lower because of the Third Amendment. Thus, the claims of current shareholders

who bought their shares after August 17, 2012 fail as a matter of law for lack of standing.

       A.      The Majority View Is That a Sale of a Security Does Not Automatically
               Assign a Claim and That an Express Assignment of the Claim Is Required

       A party can obtain standing by an assignment of a legal claim only if the assignment is

valid. “[A] valid assignment confers standing[;] an invalid assignment defeats standing . . . .”

US Fax Law Ctr., Inc. v. iHire, Inc., 476 F.3d 1112, 1120 (10th Cir. 2007); see also, e.g., Tisdale



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v. Enhanced Recovery Co., 2023 WL 1810413, at *4 (E.D. Tex. Jan. 17, 2023) (“Plaintiff cannot

have standing absent a valid assignment.” (citing cases)); Beach TV Props., Inc. v. Solomon,

2016 WL 6068806, at *17 (D.D.C. Oct. 14, 2016) (“Because the attempted assignment … was

invalid under Virginia law, [plaintiff] does not have standing to maintain this action.”).

       A plaintiff whose standing depends on an assignment of the claim has the burden of

proving a valid assignment. Brown v. Bank of Am., N.A., 660 F. App’x 506, 508-09 (9th Cir.

2016). Here, Plaintiffs cannot meet this burden because there was no express assignment of a

claim, and, respectfully, the Court should reconsider its rulings that the claim “travels with the

share,” which were never fully briefed and were decided in different contexts. See supra n.4.

       In general, a legal claim relating to property is not automatically assigned—i.e., the claim

does not “travel” with the property—when the property is sold. “As a matter of common law,

the right to bring a ‘chose in action’ was a personal right separate from the property that gave

rise to the right. … There was no presumption of an automatic assignment of the right to bring a

claim associated with the property when the property was sold. Instead, the law has required an

express assignment of the right to bring a cause of action.” DNAML Pty, Ltd. v. Apple, Inc.,

2015 WL 9077075, at *4 (S.D.N.Y. Dec. 16, 2015) (citations omitted); see also Herr v. U.S.

Forest Serv., 803 F.3d 809, 821 (6th Cir. 2015) (Sutton, J.) (citations omitted) (Under the

common law, “[c]hoses of action to enforce property rights do not, as a general matter,

automatically transfer when the underlying property changes hands. No doubt, one may assign a

chose in action to another party, but that requires the assignor to ‘manifest an intention to

transfer the right’ to the assignee.”). The Restatement (Second) of Contracts thus provides that

an assignment of a chose in action for a contract-related claim is not automatic but instead

“requires the assignor to ‘manifest an intention to transfer the right’ to the assignee.” Herr, 803




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F.3d at 821 (quoting Restatement (Second) of Contracts § 324); see also 29 Williston on

Contracts § 74:6 (4th ed. 2023) (likewise recognizing that “[t]he assignment of rights under a

continuing contract does not imply an assignment of rights of action for previous breaches”). All

of this makes clear that absent “an express assignment of the right to bring a cause of action,” the

seller retains the claim. DNAML, 2015 WL 9077075, at *4 (emphasis added).

       In Plaintiffs’ view, this common law rule does not apply here, and their claim for breach

of the implied covenant based on the August 17, 2012 share-price drop was automatically

assigned to every subsequent purchaser of the relevant Enterprise shares after that date. That

contention is contrary to settled law that the common law rule requiring an express assignment of

a claim applies to the sale of securities like Enterprise shares.

               1.      Under Federal Law, Choses in Action Relating to Securities Are Not
                       Automatically Assigned When the Securities Are Sold

       For decades, courts have held that the common law rule of no automatic assignment

applies equally to federal securities fraud claims. In an early leading case, a district court

rejected arguments that securities fall outside the common law rule such that there is an

automatic assignment of a seller’s claims, finding that “[t]his contention is entirely without any

support in precedent and, we think, totally without merit.” Indep. Inv. Protective League v.

Saunders, 64 F.R.D. 564, 572 (E.D. Pa. 1974). In language that fits this case to a tee, that court

explained: “To adopt plaintiffs’ extraordinary theory would be to deprive injured persons of their

rights and give their causes of action to one who has suffered no injury himself but who simply

has been shrewd or lucky enough to have put his hands on a security that once belonged to a

person who was defrauded.” Id. Federal appellate courts adopted the same rule. See, e.g.,

Bluebird Partners, LP v. First Fid. Bank, N.A. N.J., 85 F.3d 970, 972-74 (2d Cir. 1996)

(rejecting proposed “rule of automatic assignment” for claims relating to securities); Lowry v.



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Baltimore & Ohio R.R. Co., 707 F.2d 721, 730 (3d Cir. 1983) (en banc) (plurality op.) (holding

that, because the “action did not run with the debentures, the plaintiffs, as subsequent purchasers,

. . . lack standing to assert their claims of federal securities fraud”). Again, the economic and

fairness reason for the bar on automatic assignment is clear: “Such an approach is necessary to

ensure that compensation for fraudulent securities dealings inures to those persons who were

injured by the fraud, rather than to corporate bounty hunters.” Lowry, 707 F.2d at 729; see also

DNAML, 2015 WL 9077075, at *4 (“By ensuring that the parties’ expressed intent determines

who receives redress for a wrong, the value of the cause of action will be figured into any sale of

property, and a purchaser will be less likely to realize a windfall.” (citation omitted)).

        For decades, courts thus have held that, absent an express assignment of a legal claim

relating to a security, the seller retains the claim and it is not assigned or transferred to the buyer.

                2.      Under State Law, Choses in Action Relating to Securities Generally
                        Are Not Automatically Assigned When the Securities Are Sold

        With only a few exceptions, states follow the common law rule that the sale of a security

does not automatically assign the seller’s legal claims to the purchaser. Rather, “courts

considering the issue . . . have adopted the rule applied to federal securities law claims—i.e.

there is no automatic transfer.” Keystone Assocs. LLC v. Fulton, 2019 WL 3731722, at *3 (D.

Del. Aug. 8, 2019); accord, e.g., In re Wash. Pub. Power Supply Sys. Sec. Litig., 720 F. Supp.

1379, 1420-21 (D. Ariz. 1989) (rejecting travels-with-the-share theory under Washington law).

        For the law of a state to depart from this common law rule, the legislature “must ‘speak

directly’ to the question addressed by the common law.” United States v. Texas, 507 U.S. 529,

534 (1993) (citations omitted). New York did this when its legislature overrode the common law

rule that claims are not automatically assigned on the sale of a security in New York General

Obligations Law § 13-107, which states: “Unless expressly reserved in writing, a transfer of any



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bond shall vest in the transferee all claims or demands” of the transferrer. N.Y. Gen. Oblig. Law

§ 13-107(1). Notably, “New York is the only state to have enacted such a provision for the

automatic assignment of bondholders’ claims.” Racepoint Partners, LLC v. JPMorgan Chase

Bank, 2006 WL 3044416, at *4 (S.D.N.Y. Oct. 26, 2006); accord Royal Park Invs. SA/NV v. U.S.

Bank Nat’l Assoc., 324 F. Supp. 3d 387, 398 (S.D.N.Y. 2018) (“The majority rule is that there is

no automatic assignment of an accompanying litigation right or claim when transferring

property. On the other hand, New York adopts the minority rule . . . .” (citation omitted)).

       Without a statute like New York’s, some purchasers have argued, like Plaintiffs here, that

state-law versions of Uniform Commercial Code § 8-302 similarly abrogate the common law

rule of no automatic assignment. They argue that Section 8-302, which provides that a purchaser

of securities “acquires all rights in the security that the transferor had or had power to transfer,”

provides for automatic assignment of the seller’s legal claims simply through the sale of the

securities. The vast majority of courts to consider the issue, however, have rejected this

argument and held that Section 8-302 does not abrogate the common law rule. See, e.g., In re

Cfs-Related Sec. Fraud Litig., 2001 U.S. Dist. LEXIS 27387, at *44, *46-47 (N.D. Okla. Dec.

21, 2001) (“§ 8-302 is limited to the transfer of interests in a security only, and does not

contemplate the transfer of causes of action for fraud which arise during the process of

negotiating for and entering into a contract for the transfer of a particular security.”); Fraternity

Fund Ltd. v. Beacon Hill Asset Mgmt., LLC, 479 F. Supp. 2d 349, 373 n.126 (S.D.N.Y. 2007)

(Section 8-302(a) “does not provide for the automatic transfer of fraud claims against third

parties”); Pac. Life Ins. Co. v. Bank of N.Y. Mellon, 2022 WL 1446552, at *13 (S.D.N.Y. Feb.

22, 2022), report and recommendation adopted in part, rejected in part, 2023 WL 5128079

(S.D.N.Y. Aug. 10, 2023) (finding that seller had standing to sue in securities class action and




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that state UCCs did not automatically assign claims to buyers); Cheatham I.R.A. v. Huntington

Nat’l Bank, 137 N.E.3d 45, 49 (Ohio 2019) (holding that Ohio’s § 8-302 “does not automatically

assign rights to a purchaser upon a transfer of title” for breach of contract action).

       Indeed, the Ohio Supreme Court directly rejected the very argument Plaintiffs make here

and refused to certify classes based on a similar theory that breach of contract claims

automatically traveled with the underlying securities. See Cheatham, 137 N.E.3d 56 (holding

that “[t]he injury was sustained by the sellers who parted with these certificates at a reduced

price, not by plaintiff who purchased them” after the alleged breach).

       To Defendants’ knowledge, Delaware is the only jurisdiction that has interpreted its

version of UCC § 8-302 to adopt a travels-with-the-shares principle for certain claims. But as

explained below, even in Delaware the claim asserted here would not travel with the share.

       B.      The Claim Here Was Not Automatically Assigned Under Virginia Law

       Under Virginia law, Plaintiffs’ implied covenant claim against Freddie Mac did not travel

with the shares.

       First, unlike New York, Virginia does not have an assignment statute that abrogates the

common law rule to provide for automatic assignment of choses in action. To the contrary,

Virginia’s legislature has recognized that only certain choses in action can be assigned, and even

then, there is no automatic assignment, as in New York. See Va. Code Ann. § 8.01-26 (“Only

those causes of action for damage to real or personal property, whether such damage be direct or

indirect, and causes of action ex contractu are assignable.” (emphasis added)).

       Second, Virginia’s UCC § 8-302 does not abrogate the common law rule. To

Defendants’ knowledge, the only case that interprets Virginia’s § 8-302 addresses issues

concerning the title of shares. Day v. MCC Acquisition, LC, 848 S.E.2d 800, 807 (Va. 2020)

(“Given the clarity of the UCC’s intended reach, we agree that ‘[t]he provisions of Article 8


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relating to transfer are concerned with the transfer of title . . . .’” (citation omitted)). That is

consistent with the prevailing view that Article 8 was never intended as an assignment-of-claims

provision but rather “primarily concerns issues of title, such as defenses against enforcement of

ownership rights.” Cheatham, 137 N.E.3d at 52 (citation omitted). Indeed, Plaintiffs have never

identified any Virginia jurisprudence supporting the view that the claim here traveled to

subsequent purchasers of Freddie Mac junior preferred shares.

        Third, interpreting Virginia’s UCC to impose an automatic assignment of claims would

contradict Virginia’s statutory directive to construe its UCC “to make uniform the law among the

various jurisdictions.” Va. Code § 8.1A-103(a)(3). As noted above, virtually every jurisdiction

that has considered the issue has held that Section 8-302 does not provide for the automatic

assignment of a seller’s accrued claim to a purchaser. Ruling otherwise would do the opposite of

making Virginia’s UCC “uniform” with the laws of nearly every jurisdiction in the country.

        Finally, adopting an outlier view of the UCC would present federalism issues. In Pacific

Life Insurance, for instance, secondary purchasers asserted standing to bring state-law securities

claims and argued that the claims travelled with the shares under California’s UCC § 8-302.

2022 WL 1446552, at *9. California courts had not yet addressed the issue, and the federal court

held that “it would be presumptuous and contrary to principles of comity” to adopt a travels-

with-the-share interpretation of California’s UCC that “is contrary to most every state’s own

rule.” Id. at *13. The same is true here.

        Thus, Plaintiffs who purchased Freddie Mac shares after the Third Amendment did not

automatically acquire the implied covenant claim under Virginia law and lack standing.




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       C.      The Claim Here Was Not Automatically Assigned Under Delaware Law

       Plaintiffs’ implied covenant claim against Fannie Mae also did not travel with the shares

under Delaware law. Although Delaware law allows certain types of claims to travel with the

shares, the claim asserted here is not one of them.

       Under Delaware’s UCC § 8-302, rights “in the security” travel with the share, but

“personal rights” do not. Urdan v. WR Capital Partners, LLC, 244 A.3d 668, 677 (Del. 2020).

As Delaware’s Supreme Court has noted, Delaware courts have struggled to distinguish rights

that are “personal” from those “in the security,” and have addressed the question on a claim-by-

claim basis. To guide this inquiry, the Delaware Supreme Court observed that “[a] breach of

fiduciary duty claim for dilution” typically travels with the shares because it is “not a wrong

personal to the stockholder.” Id. at 678. “A corporate charter violation claim travels with a

stock sale because the injury is to the stock and not to the holder.” Id. at 677 (citation and

internal quotation marks omitted). Key here, the court identified two examples of “personal”

claims that do not travel with the shares. First, “[q]uintessential examples of personal claims

would include a contract claim for breach of an agreement to purchase or sell shares or a tort

claim for fraud in connection with the purchase or sale of shares.” Id. (quoting In re Activision

Blizzard, Inc. S’holder Litig., 124 A.3d 1025, 1056 (Del. Ch. 2015)). Second, claims are

personal and thus do not travel where there is no evidence that the purchaser paid any value for

the seller’s cause of action—i.e., “nothing in the record indicates that the market into which the

Plaintiff sold its [shares] valued the potential breach-of-duty claim in the price of the stock.” Id.

at 679 n.36 (quoting I.A.T.S.E. Loc. No. One Pension Fund v. Gen. Elec. Co., 2016 WL 7100493,

at *6 (Del. Ch. Dec. 6, 2016)). That is consistent with the common law rule that a legal claim

does not travel absent an express assignment showing that the purchase price reflected the value

of the claim. See supra Part II.A.


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       Here, Plaintiffs’ claim is personal under Delaware law and thus did not travel with the

shares. To begin with, Plaintiffs’ claim closely resembles the federal securities fraud share-

price-drop claims discussed above and presents the very issue courts have identified to find that

securities claims do not travel with the share. Plaintiffs’ claim also resembles a federal securities

fraud claim where the alleged misconduct occurred before the sale and caused a drop in the share

price before the shares were sold—under Plaintiffs’ theory, when the Third Amendment was

announced, the share prices fell, purportedly injuring then-holders of the shares. As in the

federal securities fraud context, absent an express assignment there is no way to determine by the

mere sale of the securities whether the sellers intended to assign their accrued claims related to

the Third Amendment to subsequent purchasers. See supra Part II.A.1. Indeed, “[t]o adopt

plaintiffs’ extraordinary theory would be to deprive injured persons of their rights” by depriving

former shareholders who held shares at the time of the Third Amendment of their cause of

action, “and give their causes of action to one who has suffered no injury himself but who simply

has been shrewd or lucky enough to have put his hands on a security that once belonged to a

person who was defrauded.” Indep. Inv. Protective League, 64 F.R.D. at 572. Those shrewd or

lucky enough to buy their Enterprise shares in the dip would essentially win a double recovery

because the share prices quickly rebounded.

       This Court’s certification of the classes under Federal Rule of Civil Procedure 23(b)(3)

reinforces that the claims with respect to Fannie Mae shares are personal under Delaware law.

Delaware courts have explained that “[t]he personal nature of federal securities claims manifests

itself in the fact that class certification generally must be obtained under Rule 23(b)(3).” In re

Activision Blizzard, 124 A.3d at 1056; see In re AMC Ent. Holdings, Inc. S’holder Litig., 299

A.3d 501, 530 n.164 (Del. Ch. 2023) (same); Urdan, 244 A.3d at 677-78 & nn.22, 26, 31




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(quoting and citing In re Activision Blizzard with approval). “By contrast, because Delaware

corporate law claims are tied to the shares themselves, they are certified under Rules 23(b)(1)

and (b)(2).” In re Activision Blizzard, 124 A.3d at 1056. That makes sense given the different

types of class actions that can be certified under Rule 23. Unlike in class actions certified under

Rule 23(b)(1) or (2), class members in a class action certified under Rule 23(b)(3) are entitled to

“personal notice and an opportunity to opt out.” In re Telectronics Pacing Sys., Inc., 221 F.3d

870, 881 (6th Cir. 2000); see Fed. R. Civ. P. 23(c)(2)(B). If Plaintiffs’ implied covenant claim is

sufficiently personal that it requires individual notice and an opportunity to opt out under Rule

23, it is likewise sufficiently personal that it does not travel with the shares under Delaware law.

       Plaintiffs’ proposed plan of allocation illustrates the practical problems that arise from

allowing a claim certified for class treatment under Rule 23(b)(3) to travel with the shares. In

defending their plan of allocation, Plaintiffs maintained that their implied covenant claim is “in

the security” and thus travels with the shares, but simultaneously claimed that shareholders’

decisions whether to opt out are “personal” and do not travel with the shares. Plaintiffs thus

were forced to draw a sharp distinction between a shareholder’s “legal claim” and the

shareholder’s “decision whether to opt out, which relates to how a particular person wishes to

pursue [that] legal claim.” Pls.’ Reply in Supp. of Mot. for Entry of Proposed J. at 12 (Class

ECF No. 418, Berkley ECF No. 425); see also id. at 13 (attempting to distinguish between “the

right to enforce the implied covenant” and “the exercised right to opt out”). That is contrary to

basic principles of assignment law, which hold that “an assignee’s right against the obligor is

subject to all . . . defenses thereto,” including “defenses based on where and how the claims may be

prosecuted.” Winn-Dixie Stores, Inc. v. Eastern Mushroom Mktg. Coop., 2020 WL 5211035, at *11

(E.D. Pa. Sept. 1, 2020) (citation omitted). In addition, Plaintiffs have not met their burden of

showing an express assignment of claims; “nothing in the record indicates that the market into


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which the Plaintiff sold its [shares] valued the potential breach-of-duty claim in the price of the

stock.” Urdan, 244 A.2d at 679 n.36 (quoting I.A.T.S.E. Loc., 2016 WL 7100493, at *6).

Rather, the law presumes the opposite: “The heavily discounted price of the security reflects its

diminished value, so the buyer is not paying for any existing choses in action.” Brief of Amici

Curiae Commercial Law Professors, Cheatham, 2018 WL 4256793, at *31.

       Further, at trial, Plaintiffs presented no evidence that the sellers “made ‘a conscious

business decision to sell [their] stock, to which [their] duty claims adhered,’ into a market that

‘implicitly reflects the value of any prospective lawsuits.’” I.A.T.S.E. Loc., 2016 WL 7100493,

at *5 (cleaned up and citation omitted). This requirement under Delaware law is consistent with

“the Restatement of Contracts, which requires an assignor to ‘manifest an intention to transfer

the right to another person without further action or manifestation of intention by the obligee.’”

DNAML, 2015 WL 9077075, at *4 (quoting Restatement (Second) of Contracts § 324).

Accordingly, shareholders who purchased Fannie Mae stock after the Third Amendment did not

automatically acquire the implied covenant claim under Delaware law. Plaintiffs thus lack

standing to pursue claims with respect to such shares.

                                         CONCLUSION

       For the foregoing reasons, Defendants respectfully request the Court grant judgment as a

matter of law for Defendants.

 Dated: April 17, 2024                       Respectfully submitted,

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